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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ELECTRONIC PRIVACY                  )
INFORMATION CENTER,                 )
                                    )
                  Plaintiff,        )
                                    )
              v.                    )   Civil Action No. 19-cv-810 (RBW)
                                    )
UNITED STATES DEPARTMENT OF         )
JUSTICE,                            )
                                    )
                  Defendant.        )
___________________________________ )
                                    )
JASON LEOPOLD, BUZZFEED, INC.,      )
                                    )
                  Plaintiffs,       )
                                    )
              v.                    )   Civil Action No. 19-cv-957 (RBW)
                                    )
UNITED STATES DEPARTMENT OF         )
JUSTICE, et al.                     )
                                    )
                  Defendants.       )
___________________________________ )

    DEPARTMENT OF JUSTICE’S MOTION FOR SUMMARY JUDGMENT IN
LEOPOLD v. DEPARTMENT OF JUSTICE AND PARTIAL SUMMARY JUDGMENT IN
  ELECTRONIC PRIVACY INFORMATION CENTER v. DEPARTMENT OF JUSTICE

         Defendant, the United States Department of Justice, moves for summary judgment

pursuant to Federal Rule of Civil Procedure 56. 1 In support of this motion, the Court is respectfully




1
  Pursuant to the Court’s Order, this motion “pertain[s] only to the plaintiffs’ request for Special Counsel Mueller’s
report regarding the investigation into Russian interference in the 2016 United States presidential election,” and does
not address the additional documents sought by Plaintiff Electronic Privacy Information Center. Order at 2 n.1, Dkt.
43. Accordingly, as applied to Electronic Privacy Information Center v. Department of Justice, this motion is for
partial summary judgment. With respect to Leopold v. Department of Justice, this motion is dispositive of the entire
case.
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referred to Defendant’s accompanying memorandum of points and authorities and attached

exhibits.

Dated: June 3, 2019                     Respectfully submitted,

                                        HASHIM MOOPPAN
                                        Deputy Assistant Attorney General
                                        Civil Division

                                        ELIZABETH J. SHAPIRO
                                        Deputy Director
                                        Federal Programs Branch

                                        /s/ Courtney D. Enlow
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                                        Counsel for Defendant




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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ELECTRONIC PRIVACY                  )
INFORMATION CENTER,                 )
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                  Plaintiff,        )
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              v.                    )   Civil Action No. 19-cv-810 (RBW)
                                    )
UNITED STATES DEPARTMENT OF         )
JUSTICE,                            )
                                    )
                  Defendant.        )
___________________________________ )
                                    )
JASON LEOPOLD, BUZZFEED, INC.,      )
                                    )
                  Plaintiffs,       )
                                    )
              v.                    )   Civil Action No. 19-cv-957 (RBW)
                                    )
UNITED STATES DEPARTMENT OF         )
JUSTICE, et al.                     )
                                    )
                  Defendants.       )
___________________________________ )

    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE
    DEPARTMENT OF JUSTICE’S MOTION FOR SUMMARY JUDGMENT IN
LEOPOLD v. DEPARTMENT OF JUSTICE AND PARTIAL SUMMARY JUDGMENT IN
  ELECTRONIC PRIVACY INFORMATION CENTER v. DEPARTMENT OF JUSTICE
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       Leopold FOIA request, dated March 22, 2019…………………...………Exhibit B

       OIP’s response letters to Plaintiffs, dated May 6, 2019…...……...……...Exhibit C

       “Report On The Investigation Into Russian Interference
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Statement Before the House Permanent Select Committee on Intelligence by James B. Comey,
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dated March 20, 2017…………...............................................................…………………Exhibit 2

DOJ Order No. 3915-2017, Appointment of Special Counsel to Investigate Russian Interference
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release/file/967231/download, dated May 17, 2017………………………………………Exhibit 3

Letter from Attorney General, dated March 22, 2019………….…………………………Exhibit 4

Letter from Attorney General, dated March 24, 2019………………………………….…Exhibit 5

Letter from Attorney General, dated March 29, 2019…………………………………..…Exhibit 6

Letter from Attorney General, dated April 18, 2019..…………………………………….Exhibit 7




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                                       INTRODUCTION

       Plaintiffs in this consolidated Freedom of Information Act (“FOIA”) case, Electronic

Privacy Information Center (“EPIC”), Jason Leopold, and BuzzFeed, Inc., filed FOIA requests

with Defendant, the Department of Justice (the “Department” or “DOJ”), for the confidential report

submitted by Special Counsel Robert S. Mueller, III to the Attorney General pursuant to 28 C.F.R.

§ 600.8, titled “Report On The Investigation Into Russian Interference In The 2016 Presidential

Election” (the “Mueller Report” or “Report”). The Report sets forth various aspects of the Special

Counsel’s investigation into interference by Russian agents and entities in the 2016 presidential

election and criminal cases resulting from that investigation. In so doing, the Report describes the

Federal Bureau of Investigation’s (“FBI”) intelligence sources and methods, as well as law

enforcement techniques and procedures, that were utilized during the investigation. The Report

also provides details related to criminal proceedings, including grand jury information, bases for

charging decisions, and information related to pending criminal cases. The Report further includes

the identities of numerous individuals, including those who, as alleged in an indictment, were

unwitting victims of interference efforts by a Russian entity on social media platforms, and those

who were investigated but not charged with any crime.

       Not surprisingly, upon reviewing the Report, the Department, with the assistance of the

Special Counsel, identified certain information that required redaction before the Report could be

released to the public. On April 18, 2019, the Attorney General released the public version of the

Report, which contained limited redactions for: (1) grand jury information; (2) information related

to investigative techniques; (3) personal privacy information, as well as deliberative material

regarding charging decisions; and (4) information that could cause harm to ongoing law

enforcement matters. These redactions were quite limited and the redacted Report allowed the



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public to see the overwhelming majority of its content. 2

         The DOJ’s Office of Information Policy (“OIP”) then conducted a review of the Report

for disclosure pursuant to the FOIA. As a result of its review, OIP determined that all of the

information redacted from the version of the Report released by the Attorney General is exempt

from disclosure pursuant to varying combinations of Exemptions 3, 5, 6, and 7 of the FOIA.

Specifically, OIP concluded that disclosure of the withheld information would reveal: (1) grand

jury information protected by Rule 6(e) of the Federal Rule of Criminal Procedure and Exemption

3; (2) intelligence sources and methods protected by the National Security Act and Exemption 3;

(3) privacy information protected by Exemptions 6 and 7(C); (4) deliberative information

regarding charging decisions protected by Exemption 5; and (5) law enforcement information

protected by Exemptions 7(A), 7(B), and 7(E).

        Despite the Department’s expeditious review, its release of the Mueller Report with only

limited redactions, and the obvious applicability of many of the exemptions based on the face of

the redacted Report, Plaintiffs challenge each and every redaction. But because the Department’s

declaration establishes that the redacted material is protected by Exemptions 3, 5, 6, and 7, and

that all segregable material has been produced to Plaintiffs, the Department has fully complied

with its obligations under the FOIA. Also, because DOJ is prohibited by court order from

disclosing information related to an ongoing criminal case, DOJ has not improperly withheld that

information under the FOIA. The Court should therefore grant summary judgment for the

Department of Justice.




2
 Media reports have estimated that only 8% of the 448-page Report was redacted. See, e.g., Caroline Kelly, Tallying
all     36   pages      of   redactions     in     the    Mueller     Report,    CNN,       Apr.     18,     2019,
https://www.cnn.com/2019/04/18/politics/mueller-report-redactions/index html (accessed on May 30, 2019).


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                                          BACKGROUND

  I.   The Department of Justice’s Investigation into Russian Interference in the 2016
       Presidential Election

       On March 20, 2017, in testimony before Congress, then-FBI Director James B. Comey

publicly confirmed the existence of an investigation of the Russian government’s efforts to

interfere in the 2016 presidential election, stating:

       [T]he FBI, as part of our counterintelligence mission, is investigating the Russian
       government’s efforts to interfere in the 2016 presidential election, and that includes
       investigating the nature of any links between individuals associated with the Trump
       campaign and the Russian government and whether there was any coordination
       between the campaign and Russia’s efforts. As with any counterintelligence
       investigation, this will also include an assessment of whether any crimes were
       committed.

Exh. 2 (Statement Before the House Permanent Select Committee on Intelligence); see also Exh.

1 (Decl. of Vanessa Brinkmann ¶ 6 (June 3, 2019)).

       On May 17, 2017, Acting Attorney General Rod J. Rosenstein appointed Robert S.

Mueller, III to serve as Special Counsel for the investigation into Russian interference with the

2016 presidential election. See Exh. 3 (DOJ Order No. 3915-2017). Under the terms of his

appointment, the Special Counsel was authorized to

       conduct the investigation confirmed by then-FBI Director James B. Comey in
       testimony before the House Permanent Select Committee on Intelligence on March
       20, 2017, including: (i) any links and/or coordination between the Russian
       government and individuals associated with the campaign of President Donald
       Trump; and (ii) any matters that arose or may arise directly from the investigation;
       and (iii) any other matters within the scope of 28 C.F.R. § 600.4(a).

Id. The Special Counsel also was authorized “to prosecute federal crimes arising from the

investigation of these matters,” id., and to “investigate and prosecute federal crimes committed in

the course of, and with intent to interfere with, the Special Counsel’s investigation, such as perjury,

obstruction of justice, destruction of evidence, and intimidation of witnesses; and to conduct

appeals arising out of the matter being investigated and/or prosecuted,” 28 C.F.R. § 600.4(a).

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       At the conclusion of his work, the Special Counsel was required to “provide the Attorney

General with a confidential report explaining the prosecution or declination decisions reached by

the Special Counsel.” 28 C.F.R. § 600.8(c). The Special Counsel concluded his work and on

March 22, 2019, provided this “[c]losing documentation,” id.—what is commonly referred to as

the Mueller Report—to the Attorney General, see Exh. 4 (letter from the Attorney General (Mar.

22, 2019)).

 II.   The Attorney General’s Letters to Congress Concerning the Mueller Report

       On the same day that the Special Counsel provided his Report to the Attorney General, the

Attorney General informed Congress that the Special Counsel “has concluded his investigation of

Russian interference in the 2016 election and related matters” and had “submitted to me today a

‘confidential report explaining the prosecution or declination decisions’ he has reached, as required

by 28 C.F.R. § 600.8(c).” Exh. 4. In that letter, the Attorney General stated that he was “committed

to as much transparency as possible” and that he “intend[ed] to determine what other information

from the [Mueller Report (aside from its principal conclusions)] can be released to Congress and

to the public consistent with the law, including the Special Counsel regulations, and the

Department’s long-standing practices and policies.” Id.

       Two days later, on March 24, 2019, the Attorney General submitted a second letter to

Congress, in which he “inform[ed] [Congress] about the status of [his] initial review of the report

[the Special Counsel] has prepared.” See Exh. 5 at 1 (letter from the Attorney General (Mar. 24,

2019)). In that letter, the Attorney General reiterated that he is “mindful of the public interest in

this matter,” and, “[f]or that reason, [his] goal and intent is to release as much of the Special

Counsel’s report as [he] can consistent with applicable law, regulations, and Departmental

policies.” Id. at 4. The Attorney General explained that, among other things, certain grand jury

information must be redacted before the report could be released:
                                                 4
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       Based on my discussions with the Special Counsel and my initial review, it is
       apparent that the report contains material that is or could be subject to Federal Rule
       of Criminal Procedure 6(e), which imposes restrictions on the use and disclosure of
       information relating to “matter[s] occurring before [a] grand jury.” Fed. R. Crim.
       P. 6(e)(2)(B). Rule 6(e) generally limits disclosure of certain grand jury
       information in a criminal investigation and prosecution. Id. Disclosure of 6(e)
       material beyond the strict limits set forth in the rule is a crime in certain
       circumstances. See, e.g., 18 U.S.C. § 401(3). This restriction protects the integrity
       of grand jury proceedings and ensures that the unique and invaluable investigative
       powers of a grand jury are used strictly for their intended criminal justice function.

Id. Finally, the Attorney General explained the process by which DOJ would redact the grand jury

information and “any information that could impact other ongoing matters” and release the report:

       Given these restrictions, the schedule for processing the report depends in part on
       how quickly the Department can identify the 6(e) material that by law cannot be
       made public. I have requested the assistance of the Special Counsel in identifying
       all 6(e) information contained in the report as quickly as possible. Separately, I
       also must identify any information that could impact other ongoing matters,
       including those that the Special Counsel has referred to other offices. As soon as
       that process is complete, I will be in a position to move forward expeditiously in
       determining what can be released in light of applicable law, regulations, and
       Departmental policies.

Id.

       On March 29, 2019, the Attorney General submitted a third letter to Congress, in which he

again reiterated his “desire to ensure that Congress and the public have the opportunity to read the

Special Counsel’s report.” Exh. 6 at 1 (letter from the Attorney General (Mar. 29, 2019)).

       On April 18, 2019, the Attorney General transmitted to Congress the redacted Report, a

copy of which was also posted on DOJ’s website the same day. See Report On The Investigation

Into Russian Interference In The 2016 Presidential Election (as released on Apr. 18, 2019),

https://www.justice.gov/storage/report.pdf. In the letter to Congress that accompanied the Report,

the Attorney General explained that the Report was being “released to the public and to Congress

to the maximum extent possible, subject only to those redactions required by law or by compelling

law enforcement, national security, or personal privacy interests.” Exh. 7 at 3 (letter from the


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Attorney General (Apr. 18, 2019)). The released copy provided a shorthand description of the

basis for each redaction. See id. The Attorney General explained the rationale for the redactions:

       As you will see, most of the redactions were required to protect grand-jury secrecy
       or to comply with judicial orders (i) protecting from public release sensitive
       discovery information or (ii) prohibiting public disclosure of information bearing
       upon ongoing investigations and criminal proceedings, including United States v.
       Internet Research Agency LLC, et al. and United States v. Roger Jason Stone, Jr.

       With the assistance of the Special Counsel and his team, we have coordinated the
       redaction process with members of the intelligence community and with the
       prosecuting offices currently handling matters referenced in the report. We have
       clearly marked the redactions based upon the reason for withholding the redacted
       information: (1) grand-jury information . . . , the disclosure of which is prohibited
       by Federal Rule of Criminal Procedure 6(e); (2) investigative techniques . . . , which
       reflect material identified by the intelligence and law enforcement communities as
       potentially compromising sensitive sources, methods, or techniques, as well as
       information that could harm ongoing intelligence or law enforcement activities; (3)
       information that, if released, could harm ongoing law enforcement matters . . . ,
       including charged cases where court rules and orders bar public disclosure by the
       parties of case information; and (4) information that would unduly infringe upon
       the personal privacy and reputational interest of peripheral third parties . . . , which
       includes deliberation about decisions not to recommend prosecution of such parties.

Id.

III.   Plaintiffs’ FOIA Requests

       On November 5, 2018, EPIC submitted a FOIA request to the Department of Justice. See

Brinkmann Decl. Exh. A (EPIC FOIA request). As relevant to this motion, EPIC sought “‘[a]ll

report[s]’ and ‘closing documentation’ prepared under 28 C.F.R. § 600.8(c), whether or not such

records were actually provided to the Attorney General or Acting Attorney General.” Id.

        On March 21, 2019, Mr. Leopold, who is a reporter for BuzzFeed, Inc., submitted a FOIA

request to the Department of Justice. See id. Exh. B (Leopold FOIA request). In that request,

Mr. Leopold sought from “the Office of Attorney General, the Deputy Attorney General, and the

Office of Special Counsel Robert Mueller”:

       A copy of the FINAL REPORT prepared by the Office of Special Counsel Robert
       Mueller relating to the Office’s investigation into: any links and/or coordination

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        between the Russian government and individuals associated with the campaign of
        President Donald Trump; and (ii) any matters that arose or may arise directly from
        the investigation; and (iii) any other matters within the scope of 28 C.F.R.
        § 600.4(a).

Id. Both Mr. Leopold and EPIC sought expedited processing of their FOIA requests, and, after

the Special Counsel submitted the Report to the Attorney General, OIP granted the requests for

expedition.3

IV.     The Instant Litigation

        On March 22, 2019—the same day the Attorney General first publicly acknowledged the

existence of the Mueller Report—EPIC filed the instant lawsuit. See Compl., Dkt. 1. Shortly

thereafter, Mr. Leopold and BuzzFeed, Inc., filed their complaint. 4 See Compl., Leopold v. Dep’t

of Justice, No. 19-cv-957 (D.D.C. Apr. 4, 2019), Dkt. 1. Both sets of Plaintiffs filed motions for

preliminary injunctions seeking immediate release of the Mueller Report, which the Court denied,

finding that the Plaintiffs failed to demonstrate irreparable harm and a substantial likelihood of

success on the merits of their claims. See Order, Dkt. 24 (denying EPIC’s motion for failure to

show irreparable harm); Order, Leopold v. Dep’t of Justice, No. 19-cv-957 (D.D.C. Apr. 18, 2019),

Dkt. 18 (denying Mr. Leopold and BuzzFeed, Inc.’s motion for failure to show irreparable harm

and a likelihood of success on the merits of their claims). The Court then consolidated the cases

“to the extent that the plaintiffs in the above-captioned matters are seeking the release of the

Special Counsel Mueller’s report regarding the investigation into Russian interference in the 2016


3
 OIP is responsible for processing FOIA requests seeking records from within the Office of the Attorney General, the
Office of the Deputy Attorney General, and certain records from the Office of the Special Counsel. Brinkmann Decl.
¶ 1.
4
  In their complaint, Mr. Leopold and BuzzFeed, Inc. name the following department, offices, and individual as
defendants: “U.S. Department of Justice,” “DOJ Office of Attorney General,” “DOJ Deputy Attorney General,” and
“DOJ Office of Special Counsel.” Compl. at 1, Leopold v. Dep’t of Justice, No. 19-cv-957 (D.D.C. Apr. 4, 2019),
Dkt. 1. Because the Office of the Attorney General, the Deputy Attorney General, and the Office of the Special
Counsel are part of the Department of Justice, and because Mr. Leopold submitted the FOIA request to the Department
of Justice, the Department of Justice is the only proper defendant in this matter.


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United States presidential election.” Order at 2, Dkt. 33. Defendant filed its answers to both

complaints on April 25, 2019. See Dkt. 36, 37. Following a status conference, the Court directed

DOJ to produce the FOIA-processed version of the Report to Plaintiffs by May 6, 2019, the

timeframe that DOJ proposed, and set a briefing schedule for cross-motions for summary judgment

only as to Plaintiffs’ request for the Mueller Report. See Order at 1, 2 n.1, Dkt. 43.

 V.      DOJ’s Response to Plaintiffs and Release of the FOIA-processed Version of the
         Mueller Report

         In accordance with the Court’s Order, OIP issued a response letter to each Plaintiff and

released the FOIA-processed version of the Report to Plaintiffs on May 6, 2019. 5 Brinkmann

Decl. ¶ 12, Exh. C. In her declaration, Vanessa Brinkmann, OIP Senior Counsel, attests that, in

coordination with the appropriate Department components, OIP conducted a thorough review of

the Report and concluded that all reasonably segregable, nonexempt information from the Report

was disclosed to Plaintiffs. Id. ¶ 13. Consistent with the redactions described by the Attorney

General in his letters to Congress, OIP determined that certain information in the Mueller Report

should be withheld from disclosure pursuant to FOIA Exemptions 3, 5, 6, and 7. Id. OIP also

determined that certain information in the Report is subject to a court order in a pending criminal

case, United States v. Stone, No. 1:19-cr-00018 (D.D.C.). Id. ¶ 90. As reflected in the markings

on the redacted Report itself, much of the information is protected by overlapping and often inter-

related exemptions and thus has multiple bases for withholding. See id. ¶ 13.

         To facilitate the explanation of the FOIA exemptions in Ms. Brinkmann’s declaration, and

in an effort to provide as much information as possible about the basis for protecting the

information underlying each redaction, OIP has added codes to the margins of the FOIA-processed


5
  The FOIA-processed version of the Report is publicly available on OIP’s website at https://www.justice.gov/oip/foia-
library.


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Report that are in addition to the exemption labels already placed within each FOIA redaction

box.6 Id. ¶ 14. These codes correspond to particular categories of information withheld from

disclosure and the corresponding FOIA exemptions. Id. The additional codes are:

    EXEMPTIONS AND                  CATEGORY DESCRIPTION
    CODED CATEGORIES
    Exemption (b)(3)                Information protected by statute
    (b)(3)-1                        Federal grand jury information, prohibited from disclosure by
                                    Rule 6(e) of the Federal Rules of Criminal Procedure
    (b)(3)-2                        Intelligence sources and methods, prohibited from disclosure by
                                    the National Security Act of 1947, 50 U.S.C. § 3024(i)(1)
    Exemption (b)(5)                Information withheld pursuant to the deliberative process
                                    privilege
    (b)(5)-1                        Deliberations about application of law to specific factual
                                    scenarios
    (b)(5)-2                        Deliberations about charging decisions not to prosecute
    Exemption (b)(7)(A)             Pending law enforcement proceedings
    Exemption (b)(7)(B)             Information which would deprive a person of a right to a fair
                                    trial or impartial adjudication
    Exemptions (b)(6) and           Unwarranted invasions of personal privacy
    (b)(7)(C)
    (b)(6)/(b)(7)(C)-1              Names, social media account information, and other contact
                                    information of unwitting third parties
    (b)(6)/(b)(7)(C)-2              Names and personally-identifiable information about individuals
                                    not charged by the Special Counsel’s Office
    (b)(6)/(b)(7)(C)-3              Information concerning a subject of the investigation by the
                                    Special Counsel’s Office
    (b)(6)/(b)(7)(C)-4              Names, social media account information, contact information,
                                    and other personally-identifiable information of individuals
                                    merely mentioned in the Report
    Exemption (b)(7)(E)             Investigative techniques and procedures
    (b)(7)(E)-1                     Information that would reveal techniques and procedures
                                    authorized for and used in national security investigations
    (b)(7)(E)-2                     Details about techniques and procedures that would reveal
                                    investigative focus and scope, and circumstances, methods and
                                    fruits of investigatory operations


6
  “During the course of coding the FOIA-processed Report, OIP identified limited instances where the exemptions
cited within redaction boxes required correction.” Brinkmann Decl. ¶ 14 n.6. “As a result, citations to Exemption 3
have been removed from the redaction boxes on page 39 in Volume 1 of the Report; citations to Exemption (7)(B)
within two redaction boxes in Appendix B, and to Exemptions 6 and (7)(C) within one redaction box in Appendix D,
have been removed; and a citation to Exemption (7)(E) has been added to each of two redaction boxes in Volume 1,
notes 1148 & 1149.” Id. “In these instances, only the exemption citations have been corrected; the placement of the
redactions remains the same.” Id.

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Id. The Report with the additional codes is attached as Exhibit D to Ms. Brinkmann’s declaration.

                                  STANDARD OF REVIEW

       Summary judgment is appropriate when there is no genuine issue as to any material fact

and the moving party is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(a); Diamond

v. Atwood, 43 F.3d 1538, 1540 (D.C. Cir. 1995). “FOIA cases typically and appropriately are

decided on motions for summary judgment.” Defs. of Wildlife v. U.S. Border Patrol, 623 F. Supp.

2d 83, 87 (D.D.C. 2009). Where, as here, the parties have moved and cross-moved for summary

judgment, the Court conducts a de novo review of the agency’s response to the challenged FOIA

requests. See 5 U.S.C. § 552(a)(4)(B).

                                         ARGUMENT

  I.   DOJ PROPERLY WITHHELD INFORMATION PURSUANT TO EXEMPTIONS
       3, 5, 6, AND 7.

       The Department must justify any information withheld subject to FOIA’s statutory

exemptions. In FOIA, Congress recognized “that legitimate governmental and private interests

could be harmed by release of certain types of information and provided nine specific exemptions

under which disclosure could be refused.” FBI v. Abramson, 456 U.S. 615, 621 (1982). “Summary

judgment is warranted on the basis of agency affidavits when the affidavits describe the

justifications for nondisclosure with reasonably specific detail, demonstrate that the information

withheld logically falls within the claimed exemption, and are not controverted by either contrary

evidence in the record nor by evidence of agency bad faith.” Larson v. Dep’t of State, 565 F.3d

857, 862 (D.C. Cir. 2009) (citation omitted). “Ultimately, an agency’s justification for invoking a

FOIA exemption is sufficient if it appears logical or plausible.” Wolf v. CIA, 473 F.3d 370, 374–

75 (D.C. Cir. 2007) (quotations omitted); Murphy v. Exec. Office for U.S. Attorneys, 789 F.3d 204,

209 (D.C. Cir. 2015) (“emphasiz[ing] that an agency’s task is not herculean”). Here, because


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DOJ’s declaration sets forth logical and plausible justifications for invoking Exemptions 3, 5, 6,

and 7 over the withheld information, the Court should grant summary judgment for Defendant.

         A. DOJ Properly Withheld Information Protected by Statute Pursuant to
            Exemption 3.

         Exemption 3 protects records that are “specifically exempted from disclosure by [another]

statute” if the relevant statute “requires that the matters be withheld from the public in such a

manner as to leave no discretion on the issue” or “establishes particular criteria for withholding or

refers to particular types of matters to be withheld.” 5 U.S.C. § 552(b)(3); see Am. Civil Liberties

Union v. Dep’t of Def., 628 F.3d 612, 617–18 (D.C. Cir. 2011) (stating that Exemption 3

“incorporat[es] the protections of other shield statutes”). To withhold records under Exemption 3,

an agency “need only show that the statute claimed is one of exemption as contemplated by

Exemption 3 and that the withheld material falls within the statute.” Larson, 565 F.3d at 868.

         In this case, the information in the Report withheld by DOJ pursuant to Exemption 3 falls

into two categories: federal grand jury information, prohibited from disclosure by Federal Rule of

Criminal Procedure 6(e) (identified on the Report as “(b)(3)-1”), and information pertaining to

intelligence sources and methods, prohibited from disclosure by the National Security Act of 1947,

50 U.S.C. § 3024(i)(1) (identified on the Report as “(b)(3)-2”). Brinkmann Decl. ¶ 16.

                  1. DOJ Properly Withheld Federal Grand Jury Information Under
                     Exemption 3.

         DOJ relies upon Federal Rule of Criminal Procedure 6(e) to withhold federal grand jury

information under Exemption 3. Rule 6(e) expressly bars disclosure of “matter[s] occurring before

the grand jury.” Fed. R. Crim. P. 6(e)(2)(B). 7 “It is well-established that Rule 6(e) is a qualifying


7
 This bar is subject to certain exceptions, none of which is relevant here. See Fed. R. Crim. P. 6(e); see also Fund for
Constitutional Gov’t v. Nat’l Archives & Records Serv., 656 F.2d 856, 868, 869 (D.C. Cir. 1981) (noting that the
“scope of the secrecy is necessarily broad” and that “[t]he rule makes quite clear that disclosure of matters occurring
before the grand jury is the exception and not the rule”).


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statute for purposes of Exemption 3.” Matthews v. FBI, Civ. A. No. CV 15-569 (RDM), 2019 WL

1440161, at *4 (D.D.C. Mar. 31, 2019) (citing Sussman v. U.S. Marshals Serv., 494 F.3d 1106,

1113 (D.C. Cir. 2007); Fund for Constitutional Gov’t v. Nat’l Archives & Records Serv., 656 F.2d

856, 867 (D.C. Cir. 1981)). Because Rule 6(e) is a qualifying statute for the purposes of Exemption

3, the only remaining inquiry is whether information withheld on that basis falls within Rule 6(e).

See Larson, 565 F.3d at 868.

         The withheld grand jury information in the Report clearly falls within Rule 6(e). “Rule

6(e) applies if the disclosed material would tend to reveal some secret aspect of the grand jury’s

investigation, including the identities of witnesses or jurors, the substance of testimony, the

strategy or direction of the investigation, or the deliberations or questions of jurors.” Hodge v.

FBI, 703 F.3d 575, 580 (D.C. Cir. 2013) (citation omitted). DOJ withheld under this exemption

only information that “explicitly discloses matters occurring before a federal grand jury” or “was

explicitly connected to the operation of the federal grand jury,” disclosure of which would reveal

“a secret aspect of the grand jury’s investigation” or “the inner workings of grand jury

proceedings.” Brinkmann Decl. ¶ 18.

         Specifically, DOJ withheld “the names and/or identifying information of individuals who

were subpoenaed or actually testified before a federal grand jury (or information that might reveal

that the witness was subpoenaed or testified before the grand jury) and information provided by

these individuals in their grand jury testimony.” 8 Id. Courts have repeatedly held that information

concerning witness names and their testimony is protected from disclosure under Exemption 3


8
  “Only information that was explicitly connected to the operation of the federal grand jury, and thus which could not
be disclosed without clearly revealing the inner workings of grand jury proceedings, was protected pursuant to
Exemption 3.” Brinkmann Decl. ¶ 18; see also id. ¶ 24 (stating that “only information with a clear nexus to federal
grand jury proceedings was withheld”). “Information that, while possibly relevant to the federal grand jury
investigations related to the Report, could nonetheless be released without compromising the secrecy of the
corresponding grand jury proceedings, has been disclosed.” Id. ¶ 18; see also id. ¶ 24.


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because revealing such information would reveal a secret aspect of grand jury proceedings. See,

e.g., Fund for Constitutional Gov’t, 656 F.2d at 869 (finding that disclosure of information

“naming or identifying grand jury witnesses [or] quoting or summarizing grand jury testimony”

“would reveal matters occurring before the grand jury and is, therefore, properly exempt from

disclosure pursuant to FOIA Exemption 3”); Matthews, 2019 WL 1440161, at *4 (finding that the

“FBI properly invoked Exemption 3” because “the identities of those served with Federal Grand

Jury subpoenas, the records subpoenaed, and other information on the internal workings of the

Federal Grand Jury . . . clearly disclose matters occurring before the grand jury” (citation omitted)).

Therefore, because release of the grand jury information in the Mueller Report “would reveal a

secret aspect of the grand jury’s investigation” or would “reveal[] the inner workings of grand jury

proceedings,” Brinkmann Decl. ¶ 18, it was properly withheld under Exemption 3.

                 2. DOJ Properly Withheld Information Pertaining to Intelligence Sources
                    and Methods Under Exemption 3.

         Section 102A(i)(1) of the National Security Act of 1947, as amended, is an Exemption 3

statute that requires the withholding of information pertaining to intelligence sources and

methods. 9 Section 102A requires the Director of National Intelligence (“DNI”) to “protect

intelligence sources and methods from unauthorized disclosure.” 50 U.S.C. § 3024(i)(1). “The

DNI has delegated enforcement of this National Security Act mandate to the heads of the 17

agencies that constitute the Intelligence Community, and the FBI is one of those delegees.” Brick

v. Dep’t of Justice, 358 F. Supp. 3d 37, 47 (D.D.C. 2019) (citation omitted); see also Brinkmann



9
  The information withheld pursuant to Exemption 3 and coded as (b)(3)-2 in the Report, is also protected by
Exemption 7(E), coded as (b)(7)(E)-1 and discussed below in Part I.B.4.a. Brinkmann Decl. ¶ 16 n.8. As the D.C.
Circuit has found, “the government need prevail on only one exemption; it need not satisfy both.” Am. Civil Liberties
Union, 628 F.3d at 623 n.3; see also Larson, 565 F.3d at 862–63 (“[A]gencies may invoke the exemptions
independently and courts may uphold agency action under one exemption without considering the applicability of the
other.”).


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Decl. ¶¶ 20–21. In this case, “the FBI assigned agents to the Special Counsel’s Office who assisted

the Special Counsel in conducting the investigation he supervised while at the same time remaining

full-time FBI employees, retaining all of their lawful authorities.” Id. ¶ 20. Some information

about and derived from investigative activities of FBI personnel assigned to the Special Counsel’s

Office is contained in the Report. Id. The National Security Act prohibits the Department from

disclosing the FBI’s intelligence sources and methods. Id. ¶ 21; see 50 U.S.C. § 3024(i)(1); Brick,

358 F. Supp. 3d at 47.

       Given this statutory prohibition on disclosure, it is “well-accepted that Section 102A(i)(1)

of the National Security Act of 1947 is a withholding statute for purposes of Exemption 3.” Brick,

358 F. Supp. 3d at 47–48 (quoting 5 U.S.C. § 552(b)(3)) (citing CIA v. Sims, 471 U.S. 159, 167

(1985); DiBacco v. U.S. Army, 795 F.3d 178, 197 (D.C. Cir. 2015)). Because Section 102A is a

qualifying statute for the purposes of Exemption 3, the only remaining inquiry is whether DOJ’s

declaration shows that the withheld material “relates to intelligence sources and methods” or “can

reasonably be expected to lead to unauthorized disclosure of intelligence sources and methods.”

Judicial Watch, Inc. v. Dep’t of State, __ F. Supp. 3d __, 2019 WL 1166757, at *4 (D.D.C. Mar.

13, 2019) (quoting Larson, 565 F.3d at 865; Halperin v. CIA, 629 F.2d 144, 147 (D.C. Cir. 1980)).

“[T]he government’s burden is a light one,” as courts have “‘consistently deferred to executive

affidavits predicting harm to national security, and have found it unwise to undertake searching

judicial review.’” Am. Civil Liberties Union, 628 F.3d at 624 (quoting Ctr. for Nat’l Sec. Studies

v. Dep’t of Justice, 331 F.3d 918, 927 (D.C. Cir. 2003)).

       DOJ’s declaration shows that the withheld information “relates to intelligence sources and

methods,” Judicial Watch, 2019 WL 1166757, at *4, and thus satisfies its “light” burden, Am. Civil

Liberties Union, 628 F.3d at 624. DOJ has withheld from the Report “unclassified sources and



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methods relating to investigative and information gathering techniques used in investigations into

interference activities emanating from Russia in the 2016 presidential election.” Brinkmann Decl.

¶ 23. Information withheld under this category “reflects material identified by the intelligence and

law enforcement communities as potentially compromising sensitive sources, methods, or

techniques, the release of which could cause harm to ongoing intelligence gathering or law

enforcement activities.” 10 Id. Information about intelligence gathering techniques is routinely

protected from disclosure. See, e.g., Elec. Privacy Info. Ctr. v. Dep’t of Justice, 296 F. Supp. 3d

109, 121 (D.D.C. 2017) (stating that material pertaining to “specific surveillance techniques . . .

must be protected from disclosure under Section 102A(i)(1)”).                          And for good reason:

“[d]isclosure[] of such information would present the potential for individuals and foreign agents

to develop and implement countermeasures to evade detection, which would result in the loss of

significant intelligence information, generally relied upon by the [intelligence community].”

Brinkmann Decl. ¶ 23. Accordingly, because the withheld material “relates to intelligence sources

and methods,” Judicial Watch, 2019 WL 1166757, at *4, DOJ properly withheld that material

under Exemption 3.

         B. DOJ Properly Withheld Law Enforcement Information Under Exemption 7.

         Exemption 7 protects from disclosure “records or information compiled for law

enforcement purposes,” the disclosure of which could reasonably be expected to cause particular

harms. 5 U.S.C. § 552(b)(7). The exemption is broken down into six parts that serve as the specific

basis for withholding—Exemptions 7(A) through Exemption 7(F). See id. In this case, DOJ



10
  “[O]nly the specific information that reveals intelligence sources and methods . . . was withheld.” Brinkmann Decl.
¶ 24. Notably, the withholdings made on this basis were so precise that if a redaction was made pursuant to numerous
FOIA exemptions, OIP marked the National Security Act-protected information as “(b)(3)-2” within that redaction.
Id. Examples of this precision can be found in notes 9–18, 23–27, 35–37, 39–43, 52–54, 63–66, and 77–78 of the
Report. See id.


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withheld information under Exemptions 7(A), 7(B), and 7(E), as well as 7(C) (together with

Exemption 6), which is discussed below in Part I.C.1. See Brinkmann Decl. ¶¶ 39–89.

               1. The Mueller Report Was Compiled for Law Enforcement Purposes.

       As a threshold matter, “[t]o fall within any of the exemptions under the umbrella of

Exemption 7, a record must have been ‘compiled for law enforcement purposes.’” Pub. Emps. for

Envtl. Responsibility v. Int’l Boundary & Water Comm’n, U.S.-Mex., 740 F.3d 195, 202–03 (D.C.

Cir. 2014) (quoting 5 U.S.C. § 552(b)(7)). “To determine whether records are compiled for law

enforcement purposes, [the D.C. Circuit] has long emphasized that the focus is on how and under

what circumstances the requested files were compiled and whether the files sought relate to

anything that can fairly be characterized as an enforcement proceeding.” Clemente v. FBI, 867

F.3d 111, 119 (D.C. Cir. 2017) (quotation omitted). Thus, “[t]o show that the disputed documents

were ‘compiled for law enforcement purposes,’ the [agency] need only ‘establish a rational nexus

between the investigation and one of the agency’s law enforcement duties and a connection

between an individual or incident and a possible security risk or violation of federal law.’”

Blackwell v. FBI, 646 F.3d 37, 40 (D.C. Cir. 2011) (quoting Campbell v. Dep’t of Justice, 164 F.3d

20, 32 (D.C. Cir. 1998)). “Because the DOJ is an agency specializ[ing] in law enforcement, its

claim of a law enforcement purpose is entitled to deference.” Ctr. for Nat. Sec. Studies, 331 F.3d

at 926 (quotations omitted).

       DOJ’s declaration shows that the Mueller Report plainly was “compiled for law

enforcement purposes.” 5 U.S.C. § 552(b)(7). “The Report is a product of the investigations

carried out by FBI agents, DOJ prosecutors, and Special Counsel Robert S. Mueller III, the latter

of which was authorized by Acting Attorney General Rod J. Rosenstein on May 17, 2017, by Order

3915-2017.” Brinkmann Decl. ¶ 40; see also 28 C.F.R. § 600.8(c). The function of the Special



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Counsel’s Office was to conduct the investigation into Russian interference with the 2016

presidential election and to prosecute federal crimes arising from the investigation and those

committed in the course of, and with intent to interfere with, that investigation. See Exh. 3; 28

C.F.R. § 600.4(a); see also Brinkmann Decl. ¶ 40.           The Report, which is the “[c]losing

documentation” of the Special Counsel’s work, summarizes the results of the investigation and

“explain[s] the prosecution or declination decisions [the Special Counsel] reached.” 28 C.F.R. §

600.8(c); see also Brinkmann Decl. ¶ 40. Courts routinely have upheld agency assertions that

similar reports or documents generated in the course of an investigation were compiled for law

enforcement purposes. See, e.g., Mack v. Dep’t of the Navy, 259 F. Supp. 2d 99, 108 (D.D.C.

2003) (finding that “criminal reports of investigations [that] set forth the background and status of

an investigation” were “compiled for law enforcement purposes”); Ctr. for Nat. Sec. Studies, 331

F.3d at 926 (finding that the term “law enforcement” includes an investigation into “a breach of

this nation’s security,” and concluding that a list of individuals detained during the investigation

of the September 11 terrorist attacks was compiled for law enforcement purposes because “[a]s

compiled, they constitute a comprehensive diagram of the law enforcement investigation after

September 11”); Blackwell, 646 F.3d at 40 (finding that “documents generated in the course of

investigating and prosecuting Blackwell on insider trading charges were quite obviously related to

the FBI’s law enforcement duties”).

       In addition, “the Special Counsel was assisted in his investigation by full-time FBI

personnel who were assigned to [the Special Counsel’s Office], but who retained all legal

authorities related to their status as FBI employees.” Brinkmann Decl. ¶ 41. The FBI is the

primary investigative agency of the federal government, with authority and responsibility to

investigate all violations of federal law not exclusively assigned to another agency, conduct



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investigations and activities to protect the United States and its people from terrorism and threats

to national security, and further the foreign intelligence objectives of the United States. Id.; see

28 U.S.C. §§ 533, 534; 28 C.F.R. § 0.85; U.S. Intelligence Activities, Exec. Order No. 12,333, 46

Fed. Reg. 59,941 (Dec. 4, 1981), as implemented by the Attorney General’s Guidelines for

Domestic FBI Operations. “To the extent that information in the Report derives from the

authorized law enforcement activities of these FBI agents, or pertains to national security or

criminal investigations that remain ongoing at [DOJ] or within the intelligence community, that

information was and remains compiled for purposes consistent with the FBI’s law enforcement

functions.” Brinkmann Decl. ¶ 41.

       Accordingly, the Court should conclude that the entirety of the Report was compiled for

law enforcement purposes. See Ctr. for Nat. Sec. Studies, 331 F.3d at 926.

               2. DOJ Properly Withheld Information Concerning Pending Enforcement
                  Proceedings Under Exemption 7(A).

       Exemption 7(A) protects records or information “compiled for law enforcement purposes”

when disclosure “could reasonably be expected to interfere with enforcement proceedings.” 5

U.S.C. § 552(b)(7)(A).     As the D.C. Circuit has explained, “Exemption 7(A) reflects the

Congress’s recognition that ‘law enforcement agencies ha[ve] legitimate needs to keep certain

records confidential, lest the agencies be hindered in their investigations or placed at a

disadvantage when it [comes] time to present their case.’” Citizens for Responsibility & Ethics in

Wash. v. Dep’t of Justice, 746 F.3d 1082, 1096 (D.C. Cir. 2014) (quoting NLRB v. Robbins Tire

& Rubber Co., 437 U.S. 214, 224 (1978)). “To justify withholding, [an agency] must therefore

demonstrate that ‘disclosure (1) could reasonably be expected to interfere with (2) enforcement

proceedings that are (3) pending or reasonably anticipated.’” Id. (quoting Mapother v. Dep’t of

Justice, 3 F.3d 1533, 1540 (D.C. Cir. 1993)). The latter two prongs of this analysis—pending or


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reasonably anticipated enforcement proceedings—typically may be satisfied by pointing to a

pending investigation or proceeding. See id. at 1098.

        The information in the Report withheld by DOJ pursuant to Exemption 7(A) pertains to a

number of “pending criminal and national security investigations and prosecutions.” Brinkmann

Decl. ¶ 43. Six criminal and national security proceedings are public and ongoing: United States

v. Internet Research Agency, LLC, et al., No. 1:18-cr-00032 (D.D.C.), United States v. Netyksho,

et. al., No. 1:18-cr-00215 (D.D.C.), United States v. Flynn, No. 1:17-cr-00232 (D.D.C.), United

States v. Gates, No. 1:17-cr-00201 (D.D.C.), United States v. Kilimnik, No. 1-17-cr-00201

(D.D.C.), and United States v. Stone, No. 1:19-cr-00018 (D.D.C.). Id. ¶ 44. Other United States

Attorney’s Offices have similarly pending, related prosecutions, including United States v.

Khusyaynova, No. 1:18-mj-00464 (E.D.V.A.), and United States v. Morenets, et al., 1:18-cr-00263

(W.D. Pa.). Id. “The [d]efendants in some of these prosecutions remain fugitives, and there remain

unindicted co-conspirators, all of whom could commit further illegal activities similar to those

charged.” Id. “Moreover, additional investigations related to the work of the [Special Counsel’s

Office], or targeting related actors, remain pending, under the criminal and national security

authorities of DOJ.” Id. “Some of these investigations now are being handled by U.S. Attorney’s

Offices and the National Security Division, as well as by the FBI in conjunction with other partners

in the intelligence community.” 11 Id.

        The “[p]ortions of the Report withheld pursuant to Exemption 7(A) consist of evidence and

information collected over the course of the Special Counsel or other investigations which have

been used in criminal and national security enforcement proceedings against, among others, the


11
  An indictment contains only allegations of criminal conduct. The Department is offering no opinion about the guilt
or innocence of any charged defendant. Every defendant is presumed innocent until the defendant pleads guilty or is
proven guilty beyond a reasonable doubt in court.


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above-listed indicted individuals and entities.” 12 Id. ¶ 45. Release of this information would

interfere with the Department of Justice’s prosecution of these pending proceedings in three ways.

Id. ¶¶ 45–46.

        First, disclosure “risks that adversarial third parties, including hostile foreign powers, could

use that information to fabricate or destroy evidence, [or] tamper with, improperly influence or

intimidate witnesses, in an effort to disrupt the criminal justice process.” Id. ¶ 45. These harms

are the types of “interference” at which Exemption 7(A) is directed. See NLRB, 437 U.S. at 236,

239–41 (permitting the NLRB to withhold potential witnesses’ statements collected during an

investigation because early disclosure might lead to intimidation of witnesses); Alyeska Pipeline

Serv. Co. v. EPA, 856 F.2d 309, 312–13 (D.C. Cir. 1988) (holding that Exemption 7(A) permitted

the EPA to withhold documents related to an ongoing investigation because disclosure would

reveal the scope and direction of the investigation and could allow the investigation’s target to

destroy or alter evidence, fabricate fraudulent alibis, and intimidate witnesses).

        Second, premature release of the prosecution’s evidence or information against the

criminal defendants “would reveal the scope, limits, and direction of the investigations and

prosecutions.” Brinkmann Decl. ¶ 45. Release of this information would harm the Government’s

cases in court by giving the indicted individuals and others (for example, unindicted co-

conspirators) “an unprecedented insight into the strengths and weaknesses of the investigations

and resulting information and evidence [used] in their indictments and criminal cases.” Id. As

courts have recognized, with such insight, individuals could be able to circumvent the

Government’s efforts to bring them to justice. Id. ¶¶ 45, 46; see Mapother, 3 F.3d at 1543 (finding


12
   “None of the information that has been withheld has been officially, publicly disclosed in connection with these
ongoing proceedings, except for information that may be public but that the [G]overnment may not disclose pursuant
to court rules and orders.” Brinkmann Decl. ¶ 45.


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that because the release of an attorney’s index of all documents he deems relevant would provide

“critical insights into [government’s] legal thinking and strategy” the documents was “clearly

covered by Exemption 7(A)”); Kay v. FCC, 976 F. Supp. 23, 39 (D.D.C. 1997), aff’d, 172 F.3d

919 (D.C. Cir. 1998) (stating that an agency may “establish interference by demonstrating that

premature release of the records could give a litigant the ability to construct defenses to avoid the

charges entirely” (citing NLRB, 437 U.S. at 241–42; North v. Walsh, 881 F.2d 1097, 1088 (D.C.

Cir. 1989)).

        Third, release of this information would be “incompatible with court orders and rules

prohibiting the disclosure of information relevant to ongoing criminal cases and restricting

discovery for sensitive information about ongoing national security investigations.” 13 Brinkmann

Decl. ¶¶ 46, 50; see, e.g., Order at 3, United States v. Stone, 1:19-cr-00018 (D.D.C. Feb. 15, 2019),

Dkt. 36, amended by Minute Order (Feb. 21, 2019); L.Cr.R. 57.7. Accordingly, because release

of this information would harm the Government’s cases in court, DOJ properly withheld that

information under Exemption 7(A). See NLRB, 437 U.S. at 232 (finding that Congress intended

that Exemption 7(A) apply “whenever the Government’s case in court . . . would be harmed by the

premature release of evidence or information”).

        “Additionally, portions of the Report withheld pursuant to Exemption 7(A) consist of

information, the disclosure of which is reasonably expected to interfere with pending criminal and

national security investigations” that are not yet at the prosecution stage. Brinkmann Decl. ¶ 47.

Prior to and during the course of the Special Counsel’s investigation, “evidence of potential

criminal activity that was outside the scope of the Special Counsel’s jurisdiction was periodically



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   In making the redactions to the Report, DOJ “considered the local criminal rule concerning pretrial publicity” in
“each charged case.” Brinkmann Decl. ¶ 50.


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discovered.” Id. “As a result, law enforcement authorities, principally the FBI and other DOJ

components, conducted further investigative activities outside the auspices of the [Special

Counsel’s Office].” Id. “In addition, the Special Counsel’s investigation into the Russian actors’

efforts to influence the 2016 presidential election also has broader implications for ongoing

national security investigations conducted by the FBI and its intelligence community partners.”

Id.

        Releasing non-public details about the specifics and contours of the Special Counsel’s

Office investigatory activities “would risk undermining these ongoing criminal and national

security investigations.”     Id.   “Generally, an agency may establish interference [with an

investigation] by showing that release of the records would reveal the scope, direction and nature

of its investigation.” Kay, 976 F. Supp. at 38. Here, in addition to the harms described above,

“[t]hese ongoing criminal and national security investigations would be adversely affected by

revealing information or activities that are (or are not) of interest to investigators, areas where there

may be gaps in investigators’ knowledge about such information or activities that could be

exploited by targets and hostile foreign powers, who investigators have already spoken with (or

who they have not spoken with), what evidence or intelligence has been gathered (or not gathered),

what exactly was said (or not) or gathered (or not), and whether individuals or entities are (or are

not) of investigative interest.” Brinkmann Decl. ¶ 48. “Further, disclosing information regarding

evidence or intelligence already known or obtained by DOJ would risk influencing, compromising,

or tainting information that may be obtained by other sources, risking fabrication or falsification

of future testimony, destruction or alteration of evidence, or attempts to intimidate or influence

potential sources.” Id.; see also Cable News Network, Inc. v. FBI, 298 F. Supp. 3d 124, 130

(D.D.C. 2018), appeal dismissed, No. 18-5041, 2018 WL 4619108 (D.C. Cir. July 5, 2018)



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(finding that the FBI properly withheld records under Exemption 7(A) that “would highlight

particular activities, interactions, and individuals,” which could assist subjects or targets of the

investigation in shaping their testimony).

        Finally, disclosure of “the specific techniques and procedures used by investigators and the

specific circumstances of their use” would also “create the risk of targets, subjects, and

adversaries—including, in the case of national security investigations, hostile foreign powers—

undermining or developing countermeasures to thwart these techniques.” 14 Brinkmann Decl. ¶ 49.

Accordingly, because release of this information could reasonably be expected to interfere with

pending criminal and national security investigations, DOJ properly withheld that information

under Exemption 7(A). See Citizens for Responsibility & Ethics in Wash., 746 F.3d at 1096 (“[S]o

long as the investigation continues to gather evidence for a possible future criminal case, and that

case would be jeopardized by the premature release of that evidence, Exemption 7(A) applies.”

(quotation omitted)).

                 3. DOJ Properly Withheld Information Which Would Deprive a Person of a
                    Right to a Fair Trial Under Exemption 7(B).

        Exemption 7(B) protects from disclosure “records or information compiled for law

enforcement purposes [the disclosure of which] would deprive a person of a right to a fair trial or

an impartial adjudication.” 5 U.S.C. § 552(b)(7)(B). The purpose of the exemption is to “prevent

disclosures from conferring an unfair advantage upon one party to an adversary proceeding or

leading to prejudicial publicity in pending cases that might inflame jurors.” Wash. Post Co. v.

Dep’t of Justice, 863 F.2d 96, 101 (D.C. Cir. 1988) (citation omitted). To withhold information

pursuant to Exemption 7(B), the D.C. Circuit has articulated a two-part standard that must be met:


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   For these reasons, this information is also protected by Exemption 7(E), and the risk of circumvention of these
techniques and procedures is discussed in more detail below in Part I.B.4. Brinkmann Decl. ¶ 49 n.12.


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“(1) that a trial or adjudication is pending or truly imminent; and (2) that it is more probable than

not that disclosure of the material sought would seriously interfere with the fairness of those

proceedings.” Id. at 102.

         “The portions of the Report withheld pursuant to Exemption 7(B) consist of information

pertaining to Roger Stone and/or his pending criminal case in the U.S. District Court for the District

of Columbia.” 15 Brinkmann Decl. ¶ 53. Mr. Stone’s case is currently scheduled for trial on

November 5, 2019. See Scheduling Order at 2, United States v. Stone, 1:19-cr-00018 (D.D.C.

Mar. 15, 2019), Dkt. 65; Brinkmann Decl. ¶ 53. As such, the withheld information relates to an

imminent trial and thus meets the first necessary standard for invoking Exemption 7(B). See

Brinkmann Decl. ¶ 53; see also Wash. Post, 863 F.2d at 102.

         In addition, given the “high-profile media coverage and intense public scrutiny” of the

Stone case since his indictment in January 2019, Brinkmann Decl. ¶ 54, disclosure of the

information in the Report about Mr. Stone or his case would seriously interfere with the fairness

of that trial, see Wash. Post, 863 F.2d at 102. As the presiding judge in Mr. Stone’s case

recognized, the case has “already received and is going to continue to receive a great deal of public

attention.” Tr. of Status Conf. at 16:2–4, United States v. Stone, 1:19-cr-00018 (D.D.C. Feb. 1,

2019), Dkt. 23; see also id. at 16:18–20 (“In this case, I’m sure it’s no surprise to anyone, that I’ve

noticed that there’s already been considerable publicity . . . .”). In light of that public attention,

the Stone Court considered entering an order pursuant to Local Criminal Rule 57.7 16 that would


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 DOJ also is prohibited by Court order from disclosing this information, as discussed below in Part II. Brinkmann
Decl. ¶¶ 54, 90.
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   Local Criminal Rule 57.7(b)(1) states that it is the duty of a lawyer or law firm “not to release or authorize the
release of information or opinion which a reasonable person would expect to be disseminated by means of a public
communication, in connection with pending or imminent criminal litigation with which the lawyer or the law firm is
associated, if there is a reasonable likelihood that such dissemination will interfere with a fair trial or otherwise
prejudice the due administration of justice.” LCrR 57.7(b)(1). This rule applies to all charged cases, not just to the
case of Mr. Stone. As noted above, violation of this rule would harm the ongoing investigation, and the Government’s

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“require all parties and counsel for both sides to . . . refrain from making further statements to the

media or in public settings that are substantially likely to have a materially prejudicial effect on

the case.” Id. at 17:15–20. The Court stated that such an order may be necessary to “safeguard

the defendant’s right to a fair trial, and also to ensure that we will have the ability to seat a jury

that has not been tainted by pretrial publicity in this matter.” Id. at 17:11–14; see also Brinkmann

Decl. ¶ 55.

        Indeed, a few weeks later, because of the “the widespread media coverage this case has

already received,” the Stone Court entered an order that directed “[c]ounsel for the parties and the

witnesses [to] refrain from making statements to the media or in public settings that pose a

substantial likelihood of material prejudice to this case.” Order at 3, United States v. Stone, 1:19-

cr-00018 (D.D.C. Feb. 15, 2019), Dkt. 36, amended by Minute Order (Feb. 21, 2019); see also

Brinkmann Decl. ¶ 54. The Court found that the order was necessary to “to safeguard the

defendant’s right to a fair trial [and] to ensure that the Court has the ability to seat a jury that has

not been tainted by pretrial publicity.” Order at 3, United States v. Stone, 1:19-cr-00018 (D.D.C.

Feb. 15, 2019), Dkt. 36, amended by Minute Order (Feb. 21, 2019).

        DOJ’s declarant has likewise recognized the “extraordinary media attention surrounding

[Mr. Stone’s] case,” as well as “the litigation that already has ensued concerning pretrial publicity

in the case, and the court’s multiple orders further restricting public statements in the case,” and

determined that the release of any information regarding Mr. Stone or his case contained in the

Report could influence potential jurors and seriously interfere with the fairness of Mr. Stone’s

impending jury trial. Brinkmann Decl. ¶ 56. DOJ withheld information governed by the local rule


adherence to the rule also justifies withholding under Exemption 7(A). See supra Part I.B.2. Local Criminal Rule
57.7(c) goes further, however, and gives the Court authority “[i]n a widely publicized or sensational criminal
case, . . . [to] issue a special order governing such matters as extrajudicial statements by parties, witnesses and
attorneys likely to interfere with the rights of the accused to a fair trial by an impartial jury.” LCrR 57.7(c).


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and court orders and determined that no additional information regarding Mr. Stone’s case could

be released without impacting his right to a fair trial or running afoul of the letter and the spirit of

the Court’s rulings concerning public statements by the parties. Id. ¶ 54. Accordingly, because

release of information about Mr. Stone or his case could seriously interfere with the fairness of his

impending jury trial, DOJ properly withheld this information under Exemption 7(B). See Wash.

Post, 863 F.2d at 102.

               4. DOJ Properly Withheld Information Concerning Investigative
                  Techniques and Procedures Under Exemption 7(E).

       Exemption 7(E) authorizes withholding of information compiled for law enforcement

purposes if release of the information “would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

investigations or prosecutions if such disclosure could reasonably be expected to risk

circumvention of the law.” 5 U.S.C. § 552(b)(7)(E). Congress intended that Exemption 7(E)

protect law enforcement techniques and procedures from disclosure, as well as techniques and

procedures used in all manner of investigations after crimes or other incidents have occurred. See

Henderson v. Office of the Dir. of Nat’l Intelligence, 151 F. Supp. 3d 170, 176 (D.D.C. 2016)

(citing 132 Cong. Rec. H9466 (daily ed. Oct. 8, 1986)). The range of “law enforcement purposes”

covered by Exemption 7(E) includes not only traditional criminal law enforcement duties, but also

proactive steps taken by the Government designed to maintain national security. See Ctr. for Nat’l

Sec. Studies, 331 F.3d at 926; Am. Civil Liberties Union of S. Cal. v. U.S. Citizenship &

Immigration Servs., 133 F. Supp. 3d 234, 242 (D.D.C. 2015) (“This Circuit has held that national

security is within the realm of law enforcement purposes sufficient to justify withholding based on

Exemption 7.” (citing Strang v. U.S. Arms Control & Disarmament Agency, 864 F.2d 859, 862

(D.C. Cir. 1989); Pratt v. Webster, 673 F.2d 408, 420 (D.C. Cir. 1982)).


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       “There is some disagreement in the courts as to the proper reading of Exemption 7(E)”—

specifically, whether the “risk circumvention of the law” requirement that “clearly applies to

records containing guidelines . . . also applies to records containing ‘techniques and procedures.’”

Citizens for Responsibility & Ethics in Wash. v. Dep’t of Justice, 160 F. Supp. 3d 226, 241–42

(D.D.C. 2016) (quoting 5 U.S.C. § 552(b)(7)(E)). Even if the requirement does apply, “Exemption

7(E) ‘sets a relatively low bar for the agency to justify withholding.’” Associated Press v. FBI,

265 F. Supp. 3d 82, 99 (D.D.C. 2017) (quoting Blackwell, 646 F.3d at 41). The agency need not

make a “highly specific . . . showing” of risk of circumvention of the law, but only “demonstrate

logically how the release of the requested information might create” such a risk. Blackwell, 646

F.3d at 42 (quoting Mayer Brown, LLP v. IRS, 562 F.3d 1190, 1194 (D.C. Cir. 2009)). Nor must

the agency demonstrate “an actual or certain risk of circumvention” of the law; rather the agency

need only show “the chance of a reasonably expected risk.” Mayer Brown, 562 F.3d at 1193.

       As explained above, information about and derived from the investigative activities of FBI

and DOJ personnel, including those assigned to the Special Counsel’s Office, are contained in the

Report. Brinkmann Decl. ¶¶ 20, 82. The information in the Report withheld by DOJ pursuant to

Exemption 7(E) falls into two categories: information that would reveal techniques and procedures

authorized for and used in national security investigations (identified on the Report as “(b)(7)(E)-

1”), and details about techniques and procedures that would reveal investigative focus and scope,

and circumstances, methods and fruits of investigatory operations (identified on the Report as

“(b)(7)(E)-2”). Id. ¶ 82.

                       a. DOJ Properly Withheld Information that Would Reveal
                          Techniques and Procedures Authorized for and Used in National
                          Security Investigations Under Exemption 7(E).

       The information in the Report withheld under Exemption 7(E) “pertains to the specific

circumstances regarding the use of techniques and procedures that are authorized and used by DOJ,
                                                27
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including prosecutors and the FBI, in national security investigations.” 17 Brinkmann Decl. ¶ 83.

The “context in which these techniques are discussed” in the Report “reveals specific details about

when during an investigation a specific technique or procedure might be utilized, the types of

information that might be sought from use of the technique, and the concurrent limitations on its

use and/or utility.” Id. ¶ 84. These discussions may also reveal what techniques might be used

together, as well as “specific details and non-public information about how the techniques are

implemented.” Id. ¶ 85. “These techniques and procedures, more specifically, the specific

circumstances concerning their use, are meant to operate clandestinely.” Id. ¶ 84. Courts have

recognized that when aggregated, as it is here, this information would illustrate an investigative

roadmap of how law enforcement conducts a national security investigation. Id. ¶ 85; see Shapiro

v. CIA, 247 F. Supp. 3d 53, 72 (D.D.C. 2017) (discussing the “mosaic” theory).

        Disclosure of the techniques used in the Special Counsel’s investigation would have

“significant ramifications for their use in other pending and future national security

investigations.” Brinkmann Decl. ¶ 83. Because detailed information about the circumstances of

the use of the techniques—including “how, when, and why such techniques and procedures are

employed, and the capabilities of these techniques and procedures—are not publicly known,” id.

¶ 84, disclosure of that information “would give sophisticated criminals, including foreign agents

of the type discussed in the Report, information necessary to change their behavior and implement

effective countermeasures to circumvent the FBI’s investigative and intelligence-gathering efforts,

as well as techniques of its intelligence community partners,” id. ¶ 85. “Such disclosure would

have ramifications for the use of these techniques and procedures in future investigations,



17
   The information withheld pursuant to Exemption 7(E) and coded as (b)(7)(E)-1 in the Report, is also protected by
Exemption 3, coded as (b)(3)-2 and discussed above in Part I.A.2. Brinkmann Decl. ¶¶ 82 n.20, 86.


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including counterintelligence and counterterrorism investigations.”        Id. ¶ 85.   Courts have

protected against disclosure of law enforcement techniques for similar reasons. See, e.g., Soghoian

v. Dep’t of Justice, 885 F. Supp. 2d 62, 75 (D.D.C. 2012) (protecting electronic surveillance

techniques because release of information showing “what information is collected, how it is

collected, and more importantly, when it is not collected” could allow criminals to evade

detection); Lewis-Bey v. Dep’t of Justice, 595 F. Supp. 2d 120, 138 (D.D.C. 2009) (protecting

details of electronic surveillance techniques, including the “circumstances under which the

techniques were used, the specific timing of their use, and the specific location where they were

employed,” because disclosure of this information “would illustrate the agency’s strategy in

implementing these specific techniques, and, in turn, could lead to decreased effectiveness in

future investigations by allowing potential subjects to anticipate . . . and identify such techniques

as they are being employed” (citation omitted)). Thus, to the extent that the Department must

show that disclosure of law enforcement techniques and procedures risks circumvention of the

law, the Department has met this “relatively low bar” and this information is protected from

disclosure under Exemption 7(E). Blackwell, 646 F.3d at 42.

                       b. DOJ Properly Withheld Details About Techniques and Procedures
                          that Would Reveal Investigative Focus and Scope, and
                          Circumstances, Methods and Fruits of Investigatory Operations
                          Under Exemption 7(E).

       The information in the Report withheld under Exemption 7(E) also pertains to “details

about the use of a variety of sensitive techniques and procedures utilized by the FBI agents and

prosecutors investigating Russian interference in the 2016 presidential election and in other cases.”

Brinkmann Decl. ¶ 87. The Report describes the “exact circumstances under which the techniques

were utilized; the methods of investigative or information gathering employed, including the

specific dates and times and targets of information gathering techniques; and the actual fruits of


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the investigative operations or evidence relied upon by the [Special Counsel’s Office].” Id. ¶ 88.

“Release of this information would disclose the methods employed by investigators and

prosecutors in the collection and analysis of information, including how and from which sources

they collected particular types of information and the methodologies employed to analyze it once

collected.” Id. ¶ 87. More specifically, “release of the information withheld in this category would

reveal specific non-public details about the use of techniques and procedures regarding

investigative focus; information about the gathering and/or analysis of information; information

directly implicating investigative targets, dates, and scope of investigatory operations; and

information that would reveal investigative strategies for utilizing particular information

gathered.” Id. Such information is properly withheld under Exemption 7(E). See Poitras v. Dep’t

of Homeland Sec., 303 F. Supp. 3d 136, 159 (D.D.C. 2018) (finding that the agency’s explanation

that disclosure of “the investigative focus of specific FBI investigations” would “reveal the scope

of the FBI’s programs and the strategies it plans to pursue in preventing and disrupting criminal

activity” was sufficient to withhold that information under Exemption 7(E)).

       To the extent that the Department must show that disclosure of law enforcement techniques

and procedures risks circumvention of the law, the Department has met this “relatively low bar.”

See Blackwell, 646 F.3d at 42. Disclosure of this information risks circumvention of the law by

the subjects of other investigations. Brinkmann Decl. ¶ 87. “While it is well-known that the FBI

and the [intelligence community] utilize a variety of investigative and information-gathering

techniques in law enforcement investigations, the exact details of how given techniques are

implemented (investigatively and/or technically) are not public.” Id. ¶ 88. “Any release of the

circumstances under which these techniques and procedures were implemented would undermine

the FBI’s and prosecutors’ effectiveness, as well as those of intelligence community partners, in



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ongoing investigations and prosecutions and its future use.,” id., by “enabl[ing] the subjects of

other investigations to identify the precise timing and circumstances when these or similar

currently-used techniques and procedures are being employed, evaluate the capabilities of these

techniques and procedures, and take evasive actions or countermeasures to circumvent their

effectiveness,” id. ¶ 87. Providing such “valuable information to investigative targets concerning

the circumstances in which specific techniques were used” would “diminish[] the relative utility

of these techniques” and would “undermin[e] the usefulness of the information collected.” Id.

¶ 87. Accordingly, because release of this information “might create” a risk of circumvention of

the law by criminal and foreign agents, this information is protected from disclosure under

Exemption 7(E). Blackwell, 646 F.3d at 42.

       C. DOJ Properly Withheld Information Related to Individuals’ Personal Privacy
          Under Exemptions 5, 6, and 7(C).

       The Department withheld information that would unduly infringe upon individuals’

personal privacy interests, which includes deliberations about charging decisions. Specifically,

DOJ withheld identifying information of unwitting third parties, individuals who were not charged

with any crime, and individuals who were merely mentioned in the Report, as well as information

related to a subject of the investigation, under Exemption 6 and 7(C). Relatedly, DOJ withheld

deliberations concerning charging decisions under Exemption 5.

               1. DOJ Properly Withheld Privacy Information Under Exemptions 6 and
                  7(C).

       Exemptions 6 and 7(C) protect the privacy of individuals from unwarranted invasion.

Exemption 6 allows the withholding of information about individuals in “personnel and medical

files and similar files” when the disclosure of such information “would constitute a clearly

unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6). Exemption 7(C) is the law

enforcement counterpart to Exemption 6 and protects from disclosure “law enforcement records

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or information” that “could reasonably be expected to constitute an unwarranted invasion of

personal privacy.” 5 U.S.C. § 552(b)(7)(C). Information protected by these exemptions “includes

the prosaic (e.g., place of birth and date of marriage) as well as the intimate and potentially

embarrassing.” Painting & Drywall Work Pres. Fund, Inc. v. Dep’t of Hous. & Urban Dev., 936

F.2d 1300, 1302 (D.C. Cir. 1991); see also Dep’t of Justice v. Reporters Comm. for Freedom of

the Press, 489 U.S. 749, 763 (1989) (rejecting a “cramped notion of personal privacy” under the

FOIA’s exemptions and emphasizing that “privacy encompass[es] the individual’s control of

information concerning his or her person”). Privacy is of particular importance in the FOIA

context because a disclosure required by the FOIA is a disclosure to the public at large. See

Painting & Drywall, 936 F.2d at 1302 (finding that if information “must be released to one

requester, it must be released to all, regardless of the uses to which it might be put”).

       Both Exemption 6 and 7(C) “require agencies and reviewing courts to ‘balance the privacy

interests that would be compromised by disclosure against the public interest in the release of the

requested information.’” Braga v. FBI, 910 F. Supp. 2d 258, 266 (D.D.C. 2012) (quoting Beck v.

Dep’t of Justice, 997 F.2d 1489, 1491 (D.C. Cir. 1993)). “The privacy interest at stake belongs to

the individual, not the government agency, and ‘individuals have a strong interest in not being

associated unwarrantedly with alleged criminal activity.’” Thompson v. Dep’t of Justice, 851 F.

Supp. 2d 89, 99 (D.D.C. 2012) (quoting Stern v. FBI, 737 F.2d 84, 91–92 (D.C. Cir. 1984)) (citing

Reporters Comm., 489 U.S. at 763–65). The D.C. Circuit has held “categorically that, unless

access to the names . . . of private individuals appearing in files within the ambit of Exemption

7(C) is necessary in order to confirm or refute compelling evidence that the agency is engaged in

illegal activity, such information is exempt from disclosure.” SafeCard Servs., Inc. v. SEC, 926

F.2d 1197, 1206 (D.C. Cir. 1991).



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       On the other side of the balance, the “only relevant ‘public interest in disclosure’ to be

weighed in this balance is the extent to which disclosure would serve ‘the core purpose of the

FOIA,’ which is ‘contribut[ing] significantly to public understanding of the operations or activities

of the government.’” Dep’t of Defense v. Fed. Labor Relations Auth., 510 U.S. 487, 495 (1994)

(quoting Reporters Comm., 489 U.S. at 775); see also Kishore v. Dep’t of Justice, 575 F. Supp. 2d

243, 256 (D.D.C. 2008). “This inquiry, moreover, should focus not on the general public interest

in the subject matter of the FOIA request, but rather on the incremental value of the specific

information being withheld.” Schrecker v. Dep’t of Justice, 349 F.3d 657, 661 (D.C. Cir. 2003)

(citing King v. Dep’t of Justice, 830 F.2d 210, 234 (D.C. Cir. 1987)). “It is a FOIA requester’s

obligation to articulate a public interest sufficient to outweigh an individual’s privacy interest, and

the public interest must be significant.” Thompson, 851 F. Supp. 2d at 99 (citing Nat’l Archives

& Records Admin. v. Favish, 541 U.S. 157, 172 (2004)).

       Although Exemptions 6 and 7(C) both require agencies and reviewing courts to undertake

the same weighing of interests, the balance under Exemption 7(C) “tilts more strongly toward

nondisclosure” because its “privacy language is broader than the comparable language in

Exemption 6.” Bartko v. Dep’t of Justice, 79 F. Supp. 3d 167, 172 (D.D.C. 2015) (quoting

Reporters Comm., 489 U.S. at 756); compare 5 U.S.C. § 552(b)(6) (protecting from disclosure

information which “would constitute a clearly unwarranted invasion of personal privacy”

(emphasis added)), with 5 U.S.C. § 552(b)(7)(C) (protecting from disclosure information that

“could reasonably be expected to constitute an unwarranted invasion of personal privacy”

(emphasis added)). These phrasing differences reflect Congress’s choice to provide “greater

protection” to law enforcement materials than to “personnel, medical, and other similar files.”

Bartko, 79 F. Supp. 3d at 172 (citing Reporters Comm., 489 U.S. at 756); Martin v. Dep’t of



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Justice, 488 F.3d 446, 456 (D.C. Cir. 2007) (“The Supreme Court has observed that the statutory

privacy right protected by Exemption 7(C) is not so limited as others.” (citing Reporters Comm.,

489 U.S. at 762)). Thus, Exemption 7(C) “establishes a lower bar for withholding material [than

Exemption 6].” Am. Civil Liberties Union v. Dep’t of Justice, 655 F.3d 1, 6 (D.C. Cir. 2011).

       Here, because the Mueller Report was compiled for law enforcement purposes, see supra

Part I.B.1, DOJ applied Exemption 7(C) to protect personal privacy information in the Report,

Brinkmann Decl. ¶ 60; see also id. ¶¶ 40, 41. And because the entire record at issue was compiled

for law enforcement purposes, the Court need only apply the 7(C) balancing test, which tilts further

in favor of non-disclosure. See Roth v. Dep’t of Justice, 642 F.3d 1161, 1173 (D.C. Cir. 2011)

(finding “no need to consider Exemption 6 separately [where] all information that would fall

within the scope of Exemption 6 would also be immune from disclosure under Exemption 7(C)”).

       In conducting this balancing test, DOJ determined that release of the withheld information

could reasonably be expected to constitute an unwarranted invasion of the privacy of individuals

mentioned in the Report, and concluded that the information is protected from disclosure under

Exemption 7(C). Brinkmann Decl. ¶ 60. Moreover, even though it was unnecessary for DOJ to

do so, see Bartko, 79 F. Supp. 3d at 172, DOJ also determined that the higher Exemption 6

balancing standard is met for all of the information withheld to protect individuals’ privacy,

Brinkmann Decl. ¶ 60.

       The information in the Report withheld by DOJ pursuant to Exemptions 6 and 7(C) falls

into four categories: names, social media account information, and other contact information of

unwitting third parties (identified on the Report as “(b)(6)/(b)(7)(C)-1”); names and personally-

identifiable information about individuals not charged by the Special Counsel’s Office (identified

on the Report as “(b)(6)/(b)(7)(C)-2”); information concerning a subject of the investigation by the



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Special Counsel’s Office (identified on the Report as “(b)(6)/(b)(7)(C)-3”); and names, social

media account information, contact information, and other personally-identifiable information of

individuals merely mentioned in the Report (identified on the Report as “(b)(6)/(b)(7)(C)-4”).

Brinkmann Decl. ¶ 62.

                       a. DOJ Properly Withheld Names, Social Media Account
                          Information, and Other Contact Information of Unwitting Third
                          Parties Under Exemptions 6 and 7(C).

       The first category of privacy-based withholdings comprises names, social media account

information, and other contact information that could reveal the identities of third parties who were

“unknowingly involved in election interference efforts carried out by Russian nationals.”

Brinkmann Decl. ¶ 63. The Special Counsel concluded that the “Internet Research Agency (IRA),”

a Russian entity, “carried out . . . a social media campaign designed to provoke and amplify social

discord in the United States.” Id. Exh. D at Vol. 1 at 4 (Report). “The publicly-released

information in the Report extensively documents the operations in the United States involving fake

IRA-controlled social media accounts, including Facebook, YouTube, and Twitter, posing as

American citizens, or pretending to be affiliated with U.S. political or grassroots organizations.”

Id. ¶ 63. “In connection with these operations, the Report identifies numerous authentic social

media users, reporters, and individuals associated with the Trump campaign who[,] apparently not

knowing that the IRA-controlled accounts and personas were fake[,] were contacted by, or

interacted or engaged with the IRA’s social media activities.” Id. In addition, “[t]he publicly-

released information in the Report also extensively documents the Main Intelligence Directive of

the General Staff (GRU)’s computer intrusion operations, including the GRU hacking directed at

the Clinton campaign and dissemination of hacked materials through the fictitious online personas

DCLeaks and Guccifer 2.0.” Id. “In connection with discussions of these operations, the Report

identifies reporters who—again, apparently not knowing that the GRU-controlled personas were
                                                 35
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fake—were contacted by DCLeaks and Guccifer 2.0 as a part of GRU’s efforts to promote release

of the hacked materials.” Id. These individuals were unwittingly used by—and in that sense,

“were essentially victimized by—interference efforts emanating from Russia, because they

apparently did not know that their contacts or activities involved Russian nationals.” 18 Id. DOJ

withheld those individuals’ names and identifying information, including, in limited instances, the

names of Facebook groups, 19 under Exemptions 6 and 7(C). Id. ¶¶ 63, 64.

         In assessing whether there is a privacy interest in this information, DOJ determined that

given “the intense public interest surrounding the [Special Counsel’s Office’s] work as well as the

public and media scrutiny, and partisan attacks, that occur when any new fact is made public,

disclosure of the identities and associated social media/contact information of these individuals,

who are merely victims of interference operations emanating from Russia, would certainly subject

these individuals to unwarranted attention, harassment and potential harm” and that these

individuals therefore have a “significant privacy interest.” Id. ¶ 65. For similar reasons, courts

have consistently found that Exemption 7(C) applies to the names and identifying information of

victims. See, e.g., Boehm v. FBI, 948 F. Supp. 2d 9, 30 (D.D.C. 2013); McGehee v. Dep’t of

Justice, 800 F. Supp. 2d 220, 233–34 (D.D.C. 2011); Banks v. Dep’t of Justice, 757 F. Supp. 2d

13, 19 (D.D.C. 2010); Kishore, 575 F. Supp. 2d at 256–57; Elliott v. FBI, Civ. A No. 06-1244,

2007 WL 1302595, at *6 (D.D.C. May 2, 2007); Coleman v. FBI, 13 F. Supp. 2d 75, 79 (D.D.C.

1998).     Thus, information identifying the third-party victims mentioned in the Report is

18
   As reflected in the Special Counsel’s statement on May 29, 2019, indictments returned by the Special Counsel
contain allegations, and in the publicly released report, neither the Special Counsel nor the Department were
commenting on the guilt or innocence of any charged defendant. Special Counsel Robert S. Mueller III Makes
Statement on Investigation into Russian Interference in the 2016 Presidential Election (May 29, 2019), available at
https://www.justice.gov/opa/speech/special-counsel-robert-s-mueller-iii-makes-statement-investigation-russian-
interference (accessed May 31, 2019).
19
   DOJ withheld the names of Facebook groups that can be used to identify the individuals who are members of and
interact within each group. Brinkmann Decl. ¶ 64.


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“‘categorically exempt’ from disclosure under Exemption 7(C) in the absence of an overriding

public interest in its disclosure.” Banks, 757 F. Supp. 2d at 18 (quoting Nation Magazine v. U.S.

Customs Serv., 71 F.3d 885, 896 (D.C. Cir. 1995)).

       In assessing the public interest in disclosing the names and identifying information of these

unwitting third parties, DOJ considered the mission and role of DOJ and whether revealing the

identities of these individuals would shed light on the operations and activities of DOJ. Brinkmann

Decl. ¶ 66. DOJ found that releasing the individuals’ identities would “in no way enhance the

public’s understanding of how the Department carries out its duties, particularly in light of the

wealth of information that has been disclosed about the results of the [Special Counsel’s]

investigation.” Id. Because these individuals have a significant privacy interest and release of

their identifying information would not further enlighten the public about the DOJ’s performance

of its duties, DOJ properly withheld that information under Exemptions 6 and 7(C). See Fitzgibbon

v. CIA, 911 F.2d 755, 768 (D.C. Cir. 1990) (finding that the agency properly withheld an

individual’s name from an FBI report because “there is no reasonably conceivable way in which

the release of the one individual’s name . . . would allow citizens to know ‘what their government

is up to’” (quoting Reporters Comm., 489 U.S. at 772)); see also Nat’l Ass’n of Retired Fed.

Employees v. Horner, 879 F.2d 873, 879 (D.C. Cir. 1989) (stating that “something, even a modest

privacy interest, outweighs nothing every time”).

                      b. DOJ Properly Withheld Names and Personally-identifiable
                         Information About Individuals Not Charged by the Special
                         Counsel’s Office Under Exemptions 6 and 7(C).

       The second category of privacy-based withholdings comprises names and other identifying

information that could reveal the identities of individuals who were subjects of the Special

Counsel’s investigation but who were ultimately not charged with any crime. Brinkmann Decl.

¶ 68. “The Report details charges that were considered or were potentially applicable to these
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individuals, but which ultimately were not pursued by [the Special Counsel’s Office].” Id. “In so

doing, the Report also provides information relevant to the Special Counsel’s evaluation, including

specific facts and details about the individuals’ actions.” Id. When those circumstantial details,

in conjunction with information that is already publicly known, would reveal the identities of these

individuals, those details were withheld under Exemptions 6 and 7(C). 20 Id.

        As the D.C. Circuit has found, “revelation of the fact that an individual has been

investigated for suspected criminal activity represents a significant intrusion on that individual’s

privacy cognizable under Exemption 7(C).” Fund for Constitutional Gov’t, 656 F.2d at 865; see

also Bast v. Dep’t of Justice, 665 F.2d 1251, 1254 (D.C. Cir. 1981) (finding that documents that

“reveal allegations of wrongdoing by suspects who never were prosecuted . . . implicate privacy

rights”); Albuquerque Pub. Co. v. Dep’t of Justice, 726 F. Supp. 851, 855 (D.D.C. 1989) (finding

that “individuals have a substantial privacy interest in information that either confirms or suggests

that they may have been subject to a criminal investigation” (citations omitted)). “The degree of

intrusion is indeed potentially augmented by the fact that . . . the investigation [is] one which

attracts as much national attention as those conducted by the [Watergate Special Prosecution

Force.]” Fund for Constitutional Gov’t, 656 F.2d at 865. In this case, DOJ recognized the

“stigmatizing effect that being associated with a criminal investigation carries,” which, because of

the national attention to the work of the Special Counsel’s Office, would be magnified. Brinkmann

Decl. ¶ 69. “Given the intense public interest surrounding the [Special Counsel’s Office’s] work[,]

as well as the public and media scrutiny, and partisan attacks, that occur when any new fact is

made public,” DOJ determined that disclosure of the identities of individuals who were ultimately



20
   The information withheld pursuant to Exemption 6 and 7(C) and coded as (b)(6)/(7)(C)-2 in the Report is also
protected by Exemption 5, coded as (b)(5)-2 and discussed below in Part I.C.2.b. Brinkmann Decl. ¶ 68 n.16.


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not charged with any crime would subject them to significant embarrassment, reprisal,

unwarranted harassment, and reputational or even physical harm. Id. In light of these harms, DOJ

concluded that these individuals have a “significant” privacy interest in preventing disclosure of

this information. Id. ¶ 71.

        On the public interest side of the balance, disclosure of this information is warranted only

if it is “‘necessary in order to confirm or refute compelling evidence that the agency is engaged in

illegal activity.’” Schrecker, 349 F.3d at 661 (quoting SafeCard, 926 F.2d at 1206); see also Fund

for Constitutional Gov’t, 656 F.2d at 861–66 (withholding identities of persons investigated but

not charged, unless “exceptional interests militate in favor of disclosure”). There is no such

evidence here. As DOJ found, although the “release of the individuals’ identities would be

something that the public at large is generally interested in, disclosure of the identities of uncharged

individuals in this one investigation would not significantly enhance the public’s understanding of

how the Department carries out its duties.” Brinkmann Decl. ¶ 70. This is particularly so given

the wealth of information that has been disclosed about the results of the Special Counsel’s

investigation and about charges set forth in criminal indictments that were obtained by the Special

Counsel’s Office against numerous other individuals and entities. Id.; see also Judicial Watch,

Inc. v. Nat’l Archives & Records Admin., 876 F.3d 346, 350 (D.C. Cir. 2017) (finding that the

public interest in a draft indictment against Hillary Clinton “is greatly reduced . . . because of the

voluminous information already in the public domain about the Independent Counsel’s

investigation of President and Mrs. Clinton”). Accordingly, because the significant privacy

interests of these uncharged individuals outweighs the general public interest in disclosure of their

names and identifying information, DOJ properly withheld this information under Exemptions 6

and 7(C). See Brinkmann Decl. ¶ 71.



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                           c. DOJ Properly Information Concerning a Subject of the
                              Investigation Under Exemptions 6 and 7(C).

        The third category of privacy-based withholdings comprises information concerning a

subject of the Special Counsel’s investigation. Brinkmann Decl. ¶ 72. Within this category, DOJ

has protected “non-public information pertaining to Roger Stone and/or his pending criminal case

in the United States District Court for the District of Columbia.” Id. “The redactions in this

category include information pertaining to Mr. Stone, but also to other individuals discussed in

connection with the facts related to Mr. Stone’s criminal case.” 21 Id.

        The D.C. Circuit has recognized that “Exemption 7(C) ‘affords broad[ ] privacy rights to

suspects.’” SafeCard Servs., 926 F.2d at 1205 (quoting Bast, 665 F.2d at 1254). In assessing

whether there is a privacy interest to protect information related to Mr. Stone and other individuals

discussed in connection with the facts related to Mr. Stone’s criminal case, DOJ’s declarant

determined that “[g]iven the intense public interest surrounding the [Special Counsel’s Office’s]

work[,] as well as the public and media attention surrounding [Mr. Stone’s] ongoing court case,

and the significant attention that any new fact made public will receive, disclosure of any additional

non-public information about [Mr. Stone] or other individuals protected by this category would

certainly subject them to unwarranted harassment, stigma, further reputational or even physical

harm.” Brinkmann Decl. ¶ 73. Mr. Stone’s privacy interest is “magnified here” because his “trial

is imminent,” id. and release of information could “compound[] the pre-trial publicity that his case

has already received,” id. ¶ 72, and thus compound the harms he would face upon release of the

information, see id. ¶¶ 72–73.

        On the public interest side of the balance, DOJ “considered the mission and role of DOJ


21
  “To the extent that such individuals also fall within another Exemption 6/7(C) category, their information is
additionally and independently protected for the reasons set forth in the discussions of those categories.” Brinkmann
Decl. ¶ 72 n.17.

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and whether there is a FOIA public interest in revealing any further information in the Report

pertaining to [these individuals] as a subject or subjects of the Special Counsel’s investigation.”

Id. ¶ 74. Although release of additional investigatory details about Mr. Stone or these other

individuals “would be something the public at large is generally interested in,” disclosure of such

information prior to Mr. Stone’s trial “would not significantly enhance the public’s understanding

of how the Department carries out its duties,” id., nor is it “‘necessary in order to confirm or refute

compelling evidence that the agency is engaged in illegal activity,’” Schrecker, 349 F.3d at 661

(quoting SafeCard, 926 F.2d at 1206). Additionally, in light of these circumstances and the Court

order restricting statements by the parties, the “public interest in learning the details about and

basis for the Department’s criminal case against [Mr. Stone] will be served in the ordinary course,

through the public disclosures made at trial.” Brinkmann Decl. ¶ 74. Accordingly, because the

privacy interest of Mr. Stone and individuals related to Mr. Stone’s case outweigh the public

interest in disclosure, DOJ properly withheld information pursuant to Exemptions 6 and 7(C). See

Spirko v. U.S. Postal Serv., 147 F.3d 992, 997, 998–99 (D.C. Cir. 1998) (upholding the agency’s

withholding under Exemption 7(C) of “suspect files” that included “narratives and computer

generated printouts of criminal activity of former suspects, photographs of former suspects,

criminal histories and descriptions of suspects and former suspects, an interview of a former

suspect pertaining to other unrelated crimes, and inspectors’ notes containing information from

state, local, and federal law enforcement agencies pertaining to suspects and former suspects”);

Harrison v. Exec. Office for U.S. Attorneys, 377 F. Supp. 2d 141, 147 (D.D.C. 2005) (upholding

the agency’s redactions under “Exemption 7(C) to protect the identities of criminal defendants”).




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                           d. DOJ Properly Withheld Names, Social Media Account
                              Information, Contact Information, and Other Personally-
                              identifiable Information About Individuals Merely Mentioned in
                              the Report Under Exemptions 6 and 7(C).

         The final category of privacy-based withholdings comprises names, social media account

information, contact information, and other personally-identifiable information that could reveal

the identities of individuals who were merely mentioned in the Report and who were not subjects

of the Special Counsel’s investigation nor charged by the Special Counsel’s Office with any crime

and who were also not unwitting third parties. Brinkmann Decl. ¶ 76. “These ‘mere mentions’

include third parties who are mentioned only in association with individuals of interest to the

investigation (but who are not themselves subjects or targets of the investigation); individuals who

were mentioned in relation to or were victims of GRU hacking and dumping operations; assorted

contact information, including social media account information, for these and other individuals

mentioned throughout the Report; and names and related personally-identifiable information of

individuals for whom evidence of potential criminal activity was referred by the Special Counsel

to appropriate law enforcement authorities.” Id. “With respect to the latter group of individuals,

who are mentioned in Section B (‘Referrals’) of Appendix D to the Report, these individuals were

not subjects of the [Special Counsel’s] investigation.” Id. “Rather, they are included in an

appendix to the Report only because evidence of potential criminal activity periodically surfaced

during the course of the [Special Counsel’s] investigation.” 22 Id.

         In conducting the balancing test, DOJ found because of the stigmatizing effect of being

associated with a criminal investigation, disclosure of the identities of these individuals would


22
   “Two entries in Section B of Appendix D relates to an individual or individuals whose privacy information has been
categorized and coded as (b)(6)/(7)(C)-3.” Brinkmann Decl. ¶ 76 n.19, see also id. ¶¶ 72–75. “Another entry in
Section B of Appendix D relates to an individual against whom the [Special Counsel’s Office] contemplated, but did
not pursue, charges related to the Special Counsel’s investigation.” Id. ¶ 76 n.19. “Although information about this
individual is considered a ‘mere mention’ in the context of Appendix D, this individual’s privacy information has
separately been categorized and coded as (b)(6)/(7)(C)-2, elsewhere in the Report.” Id.

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subject them to unwarranted harassment and potential harm. Id. ¶ 77. Indeed, as the D.C. Circuit

has recognized, “[i]t is surely beyond dispute that the mention of an individual’s name in a law

enforcement file will engender comment and speculation and carries a stigmatizing connotation.”

Fitzgibbon, 911 F.2d at 767 (citation omitted); see also Cong. News Syndicate v. Dep’t of Justice,

438 F. Supp. 538, 541 (D.D.C. 1977) (stating that “an individual whose name surfaces in

connection with an investigation may, without more, become the subject of rumor and innuendo”).

For this reason, courts routinely uphold agencies’ decisions to withhold identifying information of

third parties merely mentioned in law enforcement records. See, e.g., Negley v. FBI, 825 F. Supp.

2d 63, 70–73 (D.D.C. 2011), aff’d, 2012 WL 1155734 (D.C. Cir. Mar. 28, 2012); McGehee, 800

F. Supp. 2d at 233–34. The stigmatizing harm is especially likely here, given the intense public

and media scrutiny that occurs whenever any new fact related to the Special Counsel’s

investigation is made public. Brinkmann Decl. ¶ 77. “Moreover, with respect to the individuals

mentioned as ‘Referrals’ in Appendix D, where these individuals are mentioned in the context of

evidence that surfaced regarding potentially criminal activity, but where no assessment or

judgment is made by the Special Counsel regarding that evidence, the privacy interest is

particularly significant.” Id. Indeed, the “privacy interest is strongest where the individuals in

question ‘have been investigated but never publicly charged.’” Bartko, 79 F. Supp. 3d at 173

(quoting Am. Civil Liberties Union, 655 F.3d at 7); see also Tamayo v. Dep’t of Justice, 932 F.

Supp. 342, 344 (D.D.C. 1996) (finding that “third parties of investigative interest to the FBI” “have

a significant privacy, as well as safety, interest in not having their identities disclosed”).

        On the public interest side of the balancing test, disclosure of the names or identifying

information of individuals who are merely mentioned in the Report is not “‘necessary in order to

confirm or refute compelling evidence that the agency is engaged in illegal activity.’” Schrecker,



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349 F.3d at 661 (quoting SafeCard, 926 F.2d at 1206). To the contrary, DOJ found that release of

this information would “in no way” enhance the public’s understanding of how the Department

carries out its duties, particularly in light of the wealth of information that has been disclosed about

the results of the Special Counsel’s investigation. Brinkmann Decl. ¶ 78. “With respect to the

individuals mentioned as ‘Referrals’ in Appendix D, the Special Counsel makes no assessment of

the evidence against them but only reports that such evidence was referred elsewhere for

appropriate handling.” Id. “This accounting of referrals and information that surfaced only

incidentally during the course of the [Special Counsel’s] investigation, where the individuals were

not subjects of the [Special Counsel’s] investigation, therefore would not significantly enhance the

public’s understanding of how the Department carries out its duties.” Id.

        Therefore, because the significant privacy interest of individuals who are merely

mentioned in the Report outweighs the minimal, if any, public interest in disclosure, DOJ properly

withheld this information under Exemptions 6 and 7(C). See Taylor v. Dep’t of Justice, 257 F.

Supp. 2d 101, 109 (D.D.C. 2003) (protecting from disclosure “[n]ames and/or identifying data

concerning third parties merely mentioned” in FBI records, as well as “[n]ames and/or identifying

data of third parties who were of investigative interest to the FBI” under Exemption 7(C)); Tamayo,

932 F. Supp. at 344 (protecting from disclosure the identities of “third parties of investigative

interest to the FBI, DEA, and the Customs Service” under Exemption 7(C)).

                2. DOJ Properly Withheld Deliberative Information Regarding Charging
                   Decisions Under Exemption 5.

        Exemption 5 exempts from disclosure “inter-agency or intra-agency memorandums or

letters which would not be available by law to a party . . . in litigation with the agency.” 5 U.S.C.

§ 552(b)(5). Thus, as a threshold matter, to invoke this exemption, a record must be of the type

intended to be covered by the phrase “inter-agency or intra-agency memorandums.” Id. Here, the


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“redacted portions of information in the Report were generated by, exchanged within, and remain

wholly internal to, the Executive Branch.” Brinkmann Decl. ¶ 26. As such, all information

withheld pursuant to Exemption 5 is “inter-/intra-agency” and satisfies the threshold requirement

of the exemption. See Dep’t of the Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1,

8 (2001) (stating that the “source [of the withheld information] must be a Government agency”).

       Exemption 5 applies to records that would normally be protected from disclosure in civil

discovery. See Burka v. Dep’t of Health & Human Servs., 87 F.3d 508, 516 (D.C. Cir. 1996).

Among the privileges encompassed by Exemption 5 is the deliberative process privilege. Id. The

deliberative process privilege applies to “decisionmaking of executive officials generally,” and

protects documents containing deliberations that are part of the process by which government

decisions are formulated. In re Sealed Case, 121 F.3d 729, 737, 745 (D.C. Cir. 1997). The purpose

of the privilege is to “‘prevent injury to the quality of agency decisions’” by “encourag[ing] frank

discussion of policy matters, prevent[ing] premature disclosure of proposed policies, and

avoid[ing] public confusion that may result from disclosure of rationales that were not ultimately

grounds for agency action.” Thelen v. Dep’t of Justice, 169 F. Supp. 3d 128, 138 (D.D.C. 2016)

(quoting NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 151 (1975)) (citing Russell v. Dep’t of the

Air Force, 682 F.2d 1045, 1048 (D.C. Cir. 1982)).

       To come within the scope of the deliberative process privilege, a document must be both

pre-decisional and deliberative. Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 866

(D.C. Cir. 1980). A document is pre-decisional if “it was generated before the adoption of an

agency policy.” Id. “To show that a document is predecisional, the agency need not identify a

specific final agency decision; it is sufficient to establish ‘what deliberative process is involved,

and the role played by the document[] at issue in the course of that process.’” Heggestad v. Dep’t



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of Justice, 182 F. Supp. 2d 1, 7 (D.D.C. 2000) (quoting Coastal States, 617 F.2d at 868). A

document is deliberative if “it reflects the give-and-take of the consultative process.” Coastal

States, 617 F.2d at 866. Stated differently, the document “must be ‘a direct part of the deliberative

process in that it makes recommendations or expresses opinions on legal or policy matters.’”

Heggestad, 182 F. Supp. 2d at 7 (quoting Vaughn v. Rosen, 523 F.2d 1136, 1143–44 (D.C. Cir.

1975)). The privilege therefore applies broadly to “recommendations, draft documents, proposals,

suggestions, and other subjective documents which reflect the personal opinions of the writer

rather than the policy of the agency.” Coastal States, 617 F.2d at 866. Moreover, Exemption 5

applies if “disclosure of even purely factual material would reveal an agency’s decision-making

process.” Russell, 682 F.2d at 1048.

       The Mueller Report provides an explanation to the Attorney General of “the prosecution

or declination decisions reached by the Special Counsel.” 28 C.F.R. § 600.8(c). Thus, the Report

“contains detailed explanations of the basis for the decisions made by the Special Counsel to

pursue indictments in some instances, and not to pursue charges in others.” Brinkmann Decl. ¶ 28.

“These explanations include analysis of the facts gathered during the [Special Counsel’s]

investigation, evaluations of the weight of evidence, and assessment of the law in relation to

evidentiary facts, which led to the conclusions reached by the Special Counsel.” Id. “Given the

extraordinary public interest in the this matter, the Attorney General authorized release of the vast

majority of the Special Counsel’s Report, including a considerable amount of information that

could have been protected pursuant to Exemption 5 of the FOIA.” Id.; see also Exh. 7 at 1

(determining that “the public interest warrants as much transparency as possible regarding the

results of the Special Counsel’s investigation,” “subject only to those redactions required by the

law or compelling law enforcement, national security, or personal privacy interests”). “OIP has



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protected only a limited amount of information within the remaining redacted portions of the

Report on the basis of the deliberative process privilege.” Brinkmann Decl. ¶ 28.

        The information in the Report withheld by DOJ pursuant to Exemption 5 falls into “two

inter-related, and partly overlapping categories” that relate to the Special Counsel’s charging

decisions: deliberations about the application of law to specific factual scenarios, in which the

Special Counsel explains to the Attorney General the basis for his charging decisions (identified

on the Report as “(b)(5)-1”), and deliberations about charging decisions not to prosecute, which

would reveal criminal charges considered but not pursued against certain named individuals under

investigation (identified on the Report as “(b)(5)-2”). Id.

                          a. DOJ Properly Withheld Deliberations About Application of
                             Criminal Law to Specific Factual Scenarios Under Exemption 5.

        In the category marked as “(b)(5)-1” on the Report, DOJ withheld detailed descriptions of

the Special Counsel’s frank and candid deliberations regarding the application of criminal laws

and legal theories to evidence uncovered during the course of the Special Counsel’s

investigation. 23 Brinkmann Decl. ¶ 29. Disclosure of these internal, detailed assessments of the

strength of evidence, potential factual hurdles, or viability of legal action which preceded the

Special Counsel’s charging decisions would risk significant harm to the integrity of the

Department’s decision-making process. Id. ¶ 31. Withholdings under this category are reflected

most notably in Volume 1, Section V, id. ¶ 32, which “sets forth the Special Counsel’s charging

decisions,” id. Exh. D at Vol. 1 at 3 (Report).

        DOJ properly withheld this information under Exemption 5 because it is both predecisional

and deliberative. See Coastal States, 617 F.2d at 866. The information is predecisional because

23
   “Where the Special Counsel’s application of the law to specific facts resulted in a decision to pursue criminal
charges, and where information supporting criminal charges has been publicly disclosed, such as in criminal
indictments, that information has generally not been withheld on the basis of Exemption 5.” Brinkmann Decl. ¶ 31.


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“it explains the thought processes and application of law to specific facts that was considered by

the Special Counsel prior to reaching decisions on the specific matters discussed in the Report that

resulted in criminal charges.” Brinkmann Decl. ¶ 30. “This preliminary application of law to facts

is reflective of the evolving decision-making process of DOJ agents and attorneys in their singular

role of investigating and prosecuting federal crimes.” Id. ¶ 32. Department agents and attorney

“engage daily in in-depth factual investigations, evidence-gathering, and careful, frank,

comprehensive analysis of the law and evidence specific to the wide range of investigations under

their review.” Id. “These investigations and the evidence and facts collected therefrom, in turn,

directly inform Department attorneys’ evaluative processes in which they assess whether

violations of law have occurred, and the relative strengths, weaknesses, and challenges presented

by potential cases, all of which ultimately inform the Department’s decisions on whether to pursue

prosecutions.” Id. Because the Report describes these substantive and complex prosecutorial

decision-making processes that led to, and preceded, the Special Counsel’s charging decisions, the

withheld material is properly characterized as “predecisional.” Id.; see also Coastal States, 617

F.2d at 868 (stating that, to establish that a document is “predecisional,” an agency need identify

only “what deliberative process is involved, and the role played by the documents [at] issue in the

course of that process”).

       Similarly, as to the second part of the analysis, the withheld “information is deliberative

because it consists of the Special Counsel’s descriptions of legal theories applicable to the evidence

gathered by [Special Counsel’s Office] staff, assessments of the strengths of potential defenses,

discussions about possible factual hurdles and weight of evidence issues, and evaluation of

potential prosecutorial considerations pertinent to the factual scenarios presented.” Brinkmann

Decl. ¶ 30. “Release of this information could provide individuals with a road map as to how the



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Department assesses novel issues or application of the law in areas where prosecutions are

infrequent.” Id. “Disclosure of this information also could result in individuals altering their

behavior when engaging in certain activity in an effort to skirt criminal responsibility while still

engaging in unlawful conduct.” Id. Because this information reflects the evolving decision-

making processes of DOJ agents and attorneys leading up to the prosecution and declination

decisions presented in the Report, id. ¶ 32, it is properly characterized as “deliberative,” see

Coastal States, 617 F.2d at 866 (stating that a document is “deliberative” if it “reflects the give-

and-take of the consultative process”); see also Access Reports v. Dep’t of Justice, 926 F.2d 1192,

1195 (D.C. Cir. 1991) (noting that “the ‘deliberative’ and ‘predecisional’ requirements tend to

merge” as “[b]oth terms have come to apply only to documents that contribute to an ongoing

deliberative process within an agency”).

       As the D.C. Circuit has found, “the process leading to a decision to initiate, or to forego,

prosecution is squarely within the scope of th[e] [deliberative process] privilege.” Senate of the

Commonwealth of P.R. on Behalf of Judiciary Comm. v. Dep’t of Justice, 823 F.2d 574, 585 n.38

(D.C. Cir. 1987).     Indeed, courts have routinely recognized that documents reflecting the

Government’s internal deliberations about whether to charge an individual with a crime are

protected from disclosure under the deliberative process privilege. For example, in Jackson v.

United States Attorneys Office, District of New Jersey, the Court found that the Assistant United

States Attorney’s notes reflecting his “evaluation of the case and reasons the [office] should decline

prosecution” are “part and parcel of the [office’s] decisionmaking processes regarding criminal

prosecutions” and are thus protected from disclosure under Exemption 5. 293 F. Supp. 2d 34, 40

(D.D.C. 2003).     Courts in other cases have reached similar conclusions.          See, e.g., Gov’t

Accountability Project v. Dep’t of Justice, 852 F. Supp. 2d 14, 25–26 (D.D.C. 2012) (finding that



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the deliberative process privilege applied to e-mails between attorneys discussing whether or not

to file criminal charges); Blakeney v. FBI, Civ. A. No. 17-CV-2288 (BAH), 2019 WL 450678, at

*4 (D.D.C. Feb. 5, 2019) (finding that the agency “appropriately relied on Exemption 5” to

withhold “email communications among the [Assistant United States Attorneys] analyzing the

facts and evidence . . . to determine what charges to bring against Plaintiff” because the documents

were protected by the deliberative process privilege (citation omitted)); Jimenez v. FBI, 938 F.

Supp. 21, 28–29 (D.D.C. 1996) (finding that the agency properly withheld documents under

Exemption 5 where the “withheld documents illustrate the steps in decisionmaking at the U.S.

Attorney’s office and other federal and state agencies in considering possible criminal actions

against Mr. Jimenez and third party individuals” and “[d]isclosure of this information would reveal

predecisional and deliberative communications among government personnel, and could

undermine the candid and comprehensive considerations essential for efficient agency

decisionmaking” (citation omitted); Heggestad, 182 F. Supp. 2d at 7–12 (finding that the

deliberative process privilege covered documents related to decision-making process of whether

to pursue prosecution of taxpayer violations); Performance Coal Co. v. Dep’t of Labor, 847 F.

Supp. 2d 6, 14–16 (D.D.C. 2012) (finding that the deliberative process privilege applied to

information regarding whether to refer miners for possible prosecution based on safety violations).

       Accordingly, because the information concerning the bases for the Special Counsel’s

prosecution and declination decisions are predecisional and deliberative, that information is

protected by the deliberative process privilege and the Department properly withheld such

information under Exemption 5.

                       b. DOJ Properly Withheld Deliberations About Charging Decisions
                          Not to Prosecute Under Exemption 5.

       The second category of information withheld under Exemption 5 (coded as “(b)(5)-(2)” on


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the Report) also consists of application of criminal law to specific evidentiary facts and is protected

by the deliberative process privilege for the same reasons as the first category discussed above.

Brinkmann Decl. ¶ 34; see supra Part I.C.2.a. But, unlike the first category, all of the information

in this category pertains to charges that were contemplated but not pursued. Brinkmann Decl.

¶ 34. Moreover, the protections afforded to the information in this category differ, and extend

more broadly, in two respects. Id. First, this category includes the charging decisions not to

prosecute. Id. Second, this category includes the identities of the individuals against whom those

criminal charges were considered but not pursued. 24 Id.

        DOJ properly withheld the Special Counsel’s declination decisions and the individuals’

identities under Exemption 5 because this information is both predecisional and deliberative. See

Coastal States, 617 F.2d at 866. In addition to the reasons set forth above in Part I.C.2.a., the

information is predecisional because the decisions themselves are not final. Brinkmann Decl. ¶ 36.

Although the Special Counsel decided not to prosecute, “the Department is not precluded from

bringing such charges in the future, were evidence developed that supported the principles of

federal prosecution governing the standards for initiating criminal prosecution.” Id. This is true

for any case in which a decision is made not to prosecute. Id. “If internal charging considerations

such as these were released, the Department’s prosecutorial interests would be severely

compromised should a later decision be made to bring charges based on development of additional

evidence.” Id.

        Moreover, the information is pre-decisional because the elements of the contemplated



24
  “The identities of individuals not charged are also withheld in conjunction with FOIA Exemptions 6 and 7(C) . . .
and coded as (b)(6)/(7)(C)-2,” discussed above in Part I.C.1.b. Brinkmann Decl. ¶ 34 n.9; see also id. ¶¶ 68–71.
“Additionally, some charges were considered, but not pursued, related to fact arising from the Roger Stone criminal
case.” Id. ¶ 34 n.9. “In those instances, information pertaining to this matter is also withheld in conjunction with
FOIA Exemptions 6 and 7(C) . . . and coded as (b)(6)/(7)(C)-3.” Id.; see also id. ¶¶ 72–75.


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charges themselves elucidate the thinking and considerations of the Special Counsel prior to

reaching charging decisions. Id. ¶ 35. This information is deliberative because it reflects

contemplated charges against individuals that were considered but not pursued and the reasons for

not pursuing the charges at that time. Id. As set forth more fully above in Part I.C.2.a., courts

have routinely recognized that this type of information related to declination decisions is protected

from disclosure by the deliberative process privilege under Exemption 5. See, e.g., Jackson, 293

F. Supp. 2d at 40 (protecting attorney notes reflecting his “evaluation of the case and reasons the

[office] should decline prosecution”).

        Release of this information would cause the exact harm the deliberative process privilege

is designed to protect. As the D.C. Circuit has observed, “Exemption 5 is tailor-made for the

situation in which [a prosecutor’s office] is assessing the evidence it [is] compiling” because

“expos[ing] this process to public scrutiny would unnecessarily inhibit the prosecutor in the

exercise of his traditionally broad discretion to assess the case and decide whether or not to file

charges.” Senate of the Commonwealth of P.R., 823 F.2d at 585 n.38 (citation omitted). If internal

charging considerations such as those described in the Report were released, DOJ “attorneys would

be wary about providing comprehensive legal analysis and viewpoints from all angles critical to

ensure the quality of the decision-making process.” Brinkmann Decl. ¶ 37. “More broadly,

Department staff would be hesitant to memorialize the thinking behind their decisions for fear that

by so doing, the deliberations that went into those decisions would be publicly disclosed.” Id. To

protect the quality of decision-making, “Department employees must have confidence that they

can share legal analysis, including honest assessments of potential prosecutorial strategies and

vulnerabilities, without fear that those assessments will be revealed to potential legal adversaries

or alert potential targets of investigations and prosecutions.” Id. ¶ 36. “It is therefore critical that



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DOJ employees’ candid views and legal analysis are protected from disclosure.” Id. ¶ 37.

        Accordingly, because information concerning declination decisions are predecisional and

deliberative, that information is protected by the deliberative process privilege and the Department

properly withheld such information under Exemption 5.

 II.    DOJ IS PROHIBITED BY COURT ORDER FROM DISCLOSING
        INFORMATION RELATING TO ROGER STONE’S ONGOING CRIMINAL
        CASE.

        “Certain information contained in the Report pertaining to the Department’s ongoing

criminal case against Roger Stone, is also prohibited from disclosure pursuant to [Court order.]”25

Brinkmann Decl. ¶ 90; see also Order, United States v. Stone, 1:19-cr-00018 (D.D.C. Feb. 15,

2019), Dkt. 36, amended by Minute Order (Feb. 21, 2019). Although “the mere existence of a

court seal is, without more, insufficient to justify nondisclosure under the FOIA,” the D.C. Circuit

has recognized that “those sealing orders intended to operate as the functional equivalent of an

injunction prohibiting disclosure can justify an agency’s decision to withhold records that do not

fall within one of the specific FOIA exemptions.” Morgan v. Dep’t of Justice, 923 F.2d 195, 199

(D.C. Cir. 1991). In the Stone case, pursuant to Local Criminal Rules 57.7(b)(1) and 57.7(c), the

U.S. District Court for the District of Columbia has ordered “[c]ounsel for the parties and the

witnesses” to “refrain from making statements to the media or in public settings that pose a

substantial likelihood of material prejudice to [Mr. Stone’s] case.” Order at 3, United States v.

Stone, 1:19-cr-00018 (D.D.C. Feb. 15, 2019), Dkt. 36, amended by Minute Order (Feb. 21, 2019).

As the Stone Court recognized, the case will “continue to receive a great deal of public attention,”

Tr. of Status Conf. at 16:2–4, United States v. Stone, 1:19-cr-00018 (D.D.C. Feb. 1, 2019), Dkt.



25
   This information is also protected from disclosure pursuant to Exemption 7(B) and/or Exemptions 6 and 7(C) as
discussed above in Parts I.B.3. and I.C.1.c.


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23, and release of the information in the Report pertaining to Mr. Stone likewise would receive a

“great deal of public attention,” id., which could “pose a substantial likelihood of material

prejudice to [Mr. Stone’s] case,” Order at 3, United States v. Stone, 1:19-cr-00018 (D.D.C. Feb.

15, 2019), Dkt. 36, amended by Minute Order (Feb. 21, 2019). DOJ thus is prohibited by the Court

order from releasing information in the Report pertaining to Mr. Stone. Brinkmann Decl. ¶ 90.

       Because the Stone Court order prohibits DOJ from releasing information in the Report

pertaining to Mr. Stone, DOJ has not “improperly” withheld that information under the FOIA. See

Morgan, 923 F.2d at 199; see also Tax Analysts v. Dep’t of Justice, 845 F.2d 1060, 1064 n.7 (D.C.

Cir. 1988), aff’d, 492 U.S. 136 (1989) (stating that “agency records are not ‘improperly withheld’

when a lawful injunction by a federal court prohibits agency compliance with a FOIA request”

(citing GTE Sylvania, Inc. v. Consumers Union, 445 U.S. 375, 387 (1980)). As the Supreme Court

has recognized, “[w]hen an agency has demonstrated that it has not withheld requested records in

violation of the standards established by Congress, the federal courts have no authority to order

the production of such records under the FOIA.” Kissinger v. Reporters Comm. for Freedom of

the Press, 445 U.S. 136, 139 (1980). Accordingly, the Court should grant summary judgment for

Defendant on the information withheld under the Stone order.

III.   DOJ RELEASED ALL REASONABLY SEGREGABLE, NON-EXEMPT
       INFORMATION.

       The FOIA requires that “[a]ny reasonably segregable portion of a record shall be provided

to any person requesting such record after deletion of the portions which are exempt.” 5 U.S.C.

§ 552(b). Accordingly, “non-exempt portions of a document must be disclosed unless they are

inextricably intertwined with exempt portions.” Mead Data Cent., Inc. v. Dep’t of the Air Force,

566 F.2d 242, 260 (D.C. Cir. 1977). But this provision does not require disclosure of records in

which the non-exempt information that remains is meaningless. See Nat’l Sec. Archive Fund, Inc.


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v. CIA, 402 F. Supp. 2d 211, 221 (D.D.C. 2005). And a court “may rely on government affidavits

that show with reasonable specificity why documents withheld pursuant to a valid exemption

cannot be further segregated.” Juarez v. Dep’t of Justice, 518 F.3d 54, 61 (D.C. Cir. 2008).

        Consistent with this obligation, OIP has conducted a thorough review of the entire

unredacted Mueller Report and concluded that there is no additional, non-exempt information that

may reasonably be segregated and released without violating grand jury secrecy rules, violating

the National Security Act of 1947’s prohibitions on disclosure of intelligence sources and methods,

undermining the Department of Justice’s deliberative process, violating individuals’ privacy,

interfering with pending law enforcement proceedings, depriving an individual’s right to a fair

trial, and revealing sensitive law enforcement techniques and procedures which would risk

circumvention of the law and threaten national security. See Brinkmann Decl. ¶¶ 13, 24, 38, 51,

57, 80, 89, 91. This segregability conclusion is borne out by the released Report: redactions have

been taken narrowly and only where specific information protected by exemptions is at issue, and

significant portions of the Report have been released as a matter of discretion and transparency

that would otherwise be subject to exemptions. Therefore, because Ms. Brinkmann’s declaration

establishes that all reasonably segregable, non-exempt information has been released, summary

judgment should be granted for DOJ. See Sussman, 494 F.3d at 1117 (“Agencies are entitled to a

presumption that they complied with the obligation to disclose reasonably segregable material.”).

                                        CONCLUSION

        For the foregoing reasons, the Court should grant summary judgment for the Department

of Justice.




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Dated: June 3, 2019                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2019, I electronically transmitted the foregoing to the parties

and the clerk of court for the United States District Court for the District of Columbia using the

CM/ECF filing system.



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